EXHIBIT A
                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


 LIA DEVITRI, et al.,

                                     Petitioners/Plaintiffs,
 v.                                                               Civil Action No.17-cv-11842-PBS

 CHRIS M. CRONEN, et al.,

                                     Respondents/Defendants.


                   SUPPLEMENTAL AFFIDAVIT OF JEFFREY A. WINTERS, Ph.D.

           I, Jeffrey A. Winters, Ph.D., under oath, depose and say as follows:

      1. This affidavit supplements my earlier affidavit in this matter, which was submitted on

           October 12, 2017, and is available at Dkt. No. 49-6. I described my qualifications there.

      2. In my prior affidavit, I explained in detail my objective conclusion, based on over three

           decades of research and expertise on Indonesia, as well as on dozens of sources, that

           since 2012 the level of violence and intolerance directed at religious minorities in

           Indonesia has increased at a shocking rate and that Christian Indonesians face a

           dangerously high probability of persecution in the form of intimidation, physical harm,

           and threats to their personal safety and well-being. Christian Indonesians face an

           extremely high probability of persecution on account of their religious beliefs, and their

           fears are objectively reasonable in light of negative and worsening country conditions,

           and a clear history of organized and systemic violence against religious minorities.

      3. I make this affidavit to highlight why returning to Indonesia would lead to irreparable

           harm to the Plaintiffs.




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     4. I understand that in this matter, immigration authorities have argued that because

           Christian Indonesians could have a possibility to seek return to the United States after

           deportation, that the harm caused by their deportation would not be irreparable.

     5. While I am not able to speak to legal consequences, I wish to express in the strongest

           terms that if these Plaintiffs, whose stories are now well-known in Indonesia, are

           returned, they are highly likely to face retribution by the Indonesian authorities for

           having “spoken out as Christians,” and will certainly never be permitted to leave

           Indonesia for the U.S. again. The Indonesian government is extremely sensitive about

           negative portrayals of the country abroad, and officials take an especially negative view

           of Indonesians who are the source of the criticism.

     6. As detailed in my first affidavit, the Indonesian government actively supports Islamic

           extremists who are anti-Christian. This situation means that the government actively

           rejects and will punish those who are “vocal” and “assertive” Christians, such as

           Plaintiffs, whose identity as Christian Indonesians in America has been widely reported

           in Indonesian-language press. An index of Indonesian press reports, with translations, is

           attached hereto at Exhibit A.

     7. These Plaintiffs have been the subject of reporting on the national nightly Metro Xinwen

           News broadcast, which is closely monitored by the government:

           http://video.metrotvnews.com/play/2017/10/20/775916/wni-korban-kerusuhan-1998-

           terancam-dideportasi-dari-as. [at 6:07]. A translation of the transcript of this report is

           attached at Exhibit B.

     8. That reporting underscores that many of the Plaintiffs in this action were fleeing the

           1998 religious and ethnic riots when President Suharto was overthrown, which makes

           them prime and public targets for further persecution.



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     9. The government is aware of their position, and the fact that their case highlights

           Christianity among Indonesians makes them disfavored figures.

     10. While some news reports specifically name Plaintiff Terry Rombot, whose case has

           been widely publicized, and others reference Plaintiff Markus Subroto, it is clear that the

           government knows the identity of these individuals, as several articles quote Indonesian

           government officials for reaction to their plight.

     11. Indonesians learned a horrific lesson in 1998 about what happens to those who dare to

           shed a negative light on the atrocities that occur in the country. During the riots of that

           same year, businesses were burned and looted, many were killed, and many women and

           girls were the victim of gang-rape. The targets of such atrocities were ethnic Chinese

           Indonesians, a minority despised for their ethnicity and religious views (Buddhism and

           Christianity). At the age of 18 years old, Martadinata Haryono, herself a rape survivor,

           was viciously murdered in her home just days before she was to travel to the United

           States to testify before Congress and the United Nations about the attacks they had

           endured at the hands of roving Islamic mobs and military figures. Martadinata and her

           colleagues had received death threats to silence them from airing the country's dirty

           laundry abroad, but they intended to depart as scheduled. The trip was cancelled after

           her murder because no one dared to testify after seeing what the consequences would be.

     12. The Indonesian government maintains a computerized “No Travel” list of persons who

           are not permitted to leave the country upon presenting their passports at any immigration

           desk.

     13. With the government actively supporting extremists, and with the government’s

           sensitivity to negative press abroad about its discriminatory policies, it would be

           unrealistic to believe that these Plaintiffs will be permitted to travel to the U.S. to



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           participate in their reopened immigration proceeding or perfect any asylum rights their

           reopened cases would vindicate. Therefore, the right to reopen from within Indonesia

           would be hollow for these Plaintiffs.

     14. The risks Plaintiffs face are made even worse by the fact that they are largely

           evangelical Christians. All non-Muslims are under serious threat in Indonesia. But

           evangelical Christians face heightened risks because a core part of their faith and

           practice is to go out into their communities and “spread the Gospel,” which in Indonesia

           is deemed to be predatory proselytizing aimed at converting Muslims to Christians.

           Trying to influence someone to convert from one religion to another is a criminal act in

           Indonesia punishable by up to five years in prison. Some of the Plaintiffs are also

           deacons, deaconesses, lay clergy, and individuals who are active in their churches and

           engage in prominent church-related activities in their communities. Engaging in these

           same faith-based activities in Indonesia would place the Plaintiffs in extremely great

           danger of persecution, physical harm, arrest, and incarceration. Avoiding these risks

           would require that they avoid practicing their faith.

Recent U.S. Government Reports Show Rising Intolerance and Government Unwillingness to

Defend Minorities.

     15. As I noted in my 2017 Affidavit, the U.S. government’s report on religious freedom in

           Indonesia released in the summer of 2013 is a truly alarming document. This report

           documents a litany of violence and discrimination against religious minorities. The key

           findings of the report were that the persecution of religious minorities was rampant and

           that the government did not enforce laws that would protect vulnerable groups and

           religions. The first page of the report states: “There were reports that police collaborated

           with hardline groups against members of sects they deemed to be ‘deviant’ when



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           enforcing laws and regulations that limit religious freedom. In some instances,

           government security forces failed to act when radical non-state actors attacked minority

           sects.”

     16. The 2014 U.S. State Department report on religious freedom in Indonesia (titled the

           “2013 Report”) paints an equally dire picture of rising intolerance in Indonesia. It stated:

           “Government officials, including at the local level, discriminated against followers of

           religious groups that constituted a local minority due to pressure from other groups.

           Cabinet officials made public statements calling for conversion of adherents of certain

           religious groups and offering support to violent organizations. There were reports the

           minister of religious affairs witnessed the controversial conversion of members of the

           Ahmadiyya Muslim community.” [Source: July 28, 2014. United States Department of

           State. Bureau of Democracy, Human Rights, and Labor. “Indonesia: International

           Religious Freedom Report, 2013.”

           <state.gov/j/drl/rls/irf/religiousfreedom/index.htm?year=2013&dlid=222133>].

     17. It is irrefutable that religious minorities are violently persecuted in Indonesia. As the

           U.S. government’s own report states, “there were reports of societal abuses and

           discrimination based on religious affiliation, belief, or practice. These abuses

           occasionally included incidents of communal violence and were more common in

           provinces and districts that had enacted discriminatory regulations.” Quoting data from

           the Indonesia’s Setara Institute, the 2014 report notes that it documented 70 cases of

           “government abuses of religious freedom” during a six-month period.

     18. These failures to defend Indonesians holding minority religious beliefs extend to the

           judiciary. The 2014 U.S. report states: “Sentences in cases of violence stemming from

           religious intolerance often were not commensurate with the crimes, and religious



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           freedom advocates voiced concern that light sentences emboldened violent [Islamic]

           hardliners, as they viewed such sentences as tacit government approval of their actions.”

     19. The U.S. government’s own annual reporting on religious freedom in Indonesia supports

           the view that intolerance is rising, minority groups face widespread persecution and

           violence, and the Indonesian government does not defend religious minorities. The

           failures are not just by one part of the government, but instead across the board and at all

           jurisdictional levels – the executive branch, the legislature, the police, and the courts

           consistently side with the attackers rather than with the persecuted around the country.

     20. Indonesian media reported at the end of 2014 that acts of religious intolerance against

           Christians had nearly doubled compared to 2013. Consistent with patterns seen in

           previous years, the police actually participated in the intolerance rather than protect

           religious minorities. The report noted that “law enforcements officials, particularly the

           police, were deemed the perpetrators in many of these cases, whether through active

           participation or negligence.” [Source: December 23, 2014. Jakarta Globe. “Komnas

           HAM: Sharp Increase in Reports of Religious Intolerance.” By Fatima Bona.

           <http://thejakartaglobe.beritasatu.com/news/komnas-ham-sharp-increase-reports-

           religious-intolerance/>].

     21. An editorial by the respected newspaper, the Jakarta Globe, noted that “there have been

           no arrests or indictments” for any of these attacks. The editorial added: “That such

           serious offenses go unpunished — and are often aided by the police, who either back the

           hardliners mounting the attacks or do little to prevent them — is a travesty in a nation

           that continues to impose draconian blasphemy charges for the slightest affronts to

           Islam.” No case is more egregious than that of GKI Yasmin in Bogor. The congregation

           “has been locked out of its church since 2008, despite two Supreme Court rulings



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           ordering the municipal authorities to allow the congregation back into the church to

           worship.” [Source: December 24, 2014. Jakarta Globe. “Editorial: Who Will Speak Up

           for the Persecuted?” <http://thejakartaglobe.beritasatu.com/opinion/editorial-will-speak-

           persecuted/>].

     22. Ismail Hasani, a researcher with the Setara Institute, stated: “We record approximately

           200 events [relating to violations of religious freedom] every year,” and there is no

           indication of improvement. “The situation is still the same. It’s not good.” He also stated

           that the data showed that the problem is expanding and is not limited to particular

           regions of Indonesia. “There are intolerant groups that are increasingly widespread in

           both Jakarta and beyond, such as the Islamic Defenders Front [FPI], the Islamic People’s

           Front [FUI], and others.” He added, “These intolerant groups are like a virus. They

           influence the public to also become intolerant.” [Source: July 5, 2015. Jakarta Globe.

           “Komnas HAM Finds Religious Freedom Still Under Threat.” By Andreyka

           Natalegawa].

     23. Also in July 2015, Indonesian media reported that the police claimed that it was their

           own fear of radical Islamist groups, and a lack of political cover, that was behind their

           failure to reign in Muslim extremists who attacked and intimidated Indonesia’s religious

           minorities. According to Senior Commander John Hendri, “the truth is that police

           officers who see, hear or experience such incidents can file a report [for subsequent

           investigation], but tend to be scared to because there’s no reward or guarantee of safety

           for themselves.” He added that only with new regulations could he hope that “officers

           won’t be scared anymore.” The report also noted that some of the most intolerant and

           violent groups, such as the Islamic Defenders Front (FPI), “have long been championed

           by the police as providing a community policing service.” The report continued:



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           “Leaked US diplomatic cables dating from 2006 allege that the FPI, responsible for

           attacks on minority Islamic communities and Christians, receives funding from the

           police and acts as the force’s ‘attack dog.’ Senior officials at the Jakarta Police and

           National Police levels have for years defended the FPI as a ‘partner’ to the police and

           attempted to downplay its litany of transgressions.” [Source: July 5, 2015. Jakarta

           Globe. “Police Say They’re Too Scared to Fight Religious Hardliners.” By Erwin

           Sihombing].

Massive Anti-Christian Protests in 2016 Echo 1998 Riots

     24. At the end of 2016, the danger for Indonesia’s religious minorities reached a scale not

           seen since the massive violence of 1998. Indonesia was rocked by the largest mass

           demonstrations the country had ever witnessed since Independence in 1945. The crowds,

           numbering in the millions, were all conservative Muslims who listened to shocking

           speeches calling for Muslims to rise up against blasphemous Christians. On the stage,

           and now in the mainstream, were preachers and extremist Islamic figures who had, until

           this time, been more at the margins of the rising Islamic fundamentalist movement in

           Indonesia and of society in general.

     25. Media reporting on these alarming developments noted that religious freedom

           watchdogs like the Wahid Foundation were warning that “the growing interfaith

           disharmony across Indonesia would lead to radicalism” if the government did not

           “immediately introduce firm and long-term solutions for the problem.” Yenny Wahid,

           the foundation’s executive director and daughter of former President Wahid, stated that

           “a lot of religious leaders preach and emphasize violence in jihad.” The government has

           not introduced firm or long-term solutions, and therefore the threat Wahid warned of is

           alive and growing in urgency. According to the Indonesian media, “Indonesia has seen



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           escalating religious tension after millions of Muslims took to the streets of Jakarta.”

           [Source: December 23, 2016. Jakarta Post. “Firm Action Needed to Curb Growing

           Intolerance: Wahid Foundation.”].

     26. The failure of the government to deploy the police to uphold the law and defend

           religious minorities has carried devastating consequences. “The country has allowed

           many houses of worship to be demolished, religious rituals to be stopped and hatred to

           be excessively disseminated,” said University of Indonesia law professor, Sulistyowati

           Irianto. [Source: December 23, 2016. Jakarta Post. “Indonesian Scholars Stand up

           against Growing Intolerance.”]

     27. Hardline Islamicists seized on a statement Mr. Ahok, who was running for governor of

           Jakarta, made to potential voters in September 2016. He had received reports that

           Muslims were being told by religious figures and by competing candidates that their

           religion forbade them from voting for a non-Muslim. Mr. Ahok urged them not to be

           fooled by this information and to vote for whomever they thought was the best

           candidate. A broad swath of the Islamic community interpreted this innocuous statement

           as blasphemous against Islam. Mr. Ahok apologized, but it was not enough. In the

           middle of the campaign for the governorship, he was arrested and formally charged

           under Indonesia’s blasphemy law. “The legislation was rarely used during the 32-year

           rule of strongman Suharto,” according to media sources, “but in recent years it has been

           exploited to persecute minorities, rights groups say.” [Source: April 20, 2017. Aljazeera.

           “‘Light’ Sentence Sought for Ahok over Alleged Blasphemy.”]

     28. This triggered a series of mass demonstrations in Jakarta, the largest in the country’s

           history, demanding Mr. Ahok be convicted, and threatening mob violence to punish him

           if the court was too lenient. This use of religious laws and sentiments, accompanied by a



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           show of force by crowds of millions, were all directed at ensuring a Christian could not

           win the vote for an important high office like governor of Jakarta. On May 9, 2017, Mr.

           Ahok was found guilty of blasphemy and sentenced to two years in prison. This

           persecution of such a prominent figure, based on his Christian faith, made headlines

           around the world and sent a strong signal to Indonesian Chinese that they faced grave

           danger from increasingly assertive Islamicists. [Source: May 9, 2017. Jakarta Post.

           “Ahok Guilty of Blasphemy, Sentenced to Two Years.” By Callistasia Anggun Wijaya].

     29. A study by Sana Jaffrey, a doctoral candidate at the University of Chicago, provides

           abundant evidence that links the rising intolerance in Indonesia to violence – including

           death. Following the mass Islamic demonstrations focused on blocking the election of

           Mr. Ahok, “a series of mob attacks against religious minorities in Bandung, Yogyakarta

           and Surabaya have furthered fears about a mounting Islamist challenge to [President]

           Jokowi’s government.” Jaffrey makes an important point about vigilantism, which is the

           most common form of attack against religious and ethnic minorities since 1998:

                   “Between 2005 and 2014, The National Violence Monitoring System (NVMS)
                   database recorded 33,627 victims of vigilante violence in 16 provinces that
                   together represent 50 per cent of Indonesia’s population. This estimate includes
                   the 1,659 people who died. The rest sustained serious injuries. To put these
                   numbers in perspective, consider that communal riots and political clashes
                   during the same period resulted in 10,433 victims, including 637 fatalities.
                   Although large-scale violence tends to grab more national headlines, the
                   cumulative impact of vigilantism is three times higher.”

     30. Jaffrey goes on to note that “the frequency of [vigilante] mob attacks actually registered

           a 25 per cent increase between 2007 and 2014.” She adds that the targets of vigilantism

           have increasingly shifted to minorities, almost all of whom are targets of the social

           agenda of hardline Islamic groups.. [Source: January 12, 2017. New Mandala. “Justice

           by Numbers.” By Sana Jaffrey.]


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     31. As originally recounted in my October 2017 Affidavit, during my research visit to

           Indonesia in February 2017, I was invited to meet with U.S. Ambassador Joseph

           Donovan and Mark D. Clark, the head of the embassy’s political section. The focus of

           our two-hour discussion revolved exclusively around assessing the rapidly changing

           nature of political Islam in Indonesia, and the serious threats these trends posed for the

           country’s stability, and especially for vulnerable religious minorities. The U.S.

           government itself is tracking these developments carefully to assess the proportions of

           the danger, and whether the trends can be slowed or reversed. All of the indicators

           available to political observers both inside Indonesia and abroad are that the rising

           intolerance is a deep current in the society and political structure that poses very real

           dangers to people like thePlaintiffs in this case.

     Conclusions Regarding Irreparable Harm to Plaintiffs.

     32. As set forth in my October 2017 Affidavit, my objective conclusion remains that radical

           Islam has gained significantly in strength in Indonesia since 2008, but that especially

           since 2012 the level of violence and intolerance directed at religious minorities has

           increased at a shocking rate. This movement is rapidly displacing the more tolerant

           version of Islam that existed in Indonesia for decades. Despite words and gestures from

           the government calling for harmony, the reality is that there is increasing intolerance,

           increasing violence, and increasing danger for minorities across the archipelago.

     33. The evidence is clear that this climate of persecution based on religion has been gaining

           momentum. The Indonesian government is unwilling or unable to take firm and decisive

           action to punish militant Muslims who violently attack religious minorities across the

           country, and statements by officials from the cabinet level downward enable the

           attackers and provide them cover when they commit violent acts.



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     34. This deterioration in conditions has a strong and negative impact on Indonesia’s non-

           Islamic citizens, but especially the Christian minority. The Islamic movement to impose

           exclusionary shari’a law has grown stronger and more radical, and these groups have

           consistently engaged in violent behavior against religious minorities. At the end of 2016

           and the beginning of 2017, Indonesia’s political stability was rocked by the largest mass

           demonstrations the country had ever seen. These demonstrations were organized by

           extremist Islamic groups and figures, and were marked by rhetoric inciting hatred

           against religious minorities – especially Christians. The risks of persecution that these

           deteriorating country conditions pose to Christian Indonesians is alarmingly high and

           increasing.

     35. Based on the above statements, and particularly the fact that country conditions are

           deteriorating in Indonesia for religious minorities, it is my considered opinion that

           Christian Indonesians are at great risk.

     36. Based on the above statements, it is my opinion that acts of violence have occurred

           throughout Indonesia, and there are no areas that are immune from the possibility of acts

           of violence, or threats of violence, against Christian Indonesians.

     37. Accordingly, it is my opinion that Christian Indonesians facing deportation back to

           Indonesia face an extremely high probability of persecution on account of their religious

           beliefs, and that their fears are objectively reasonable in light of negative and worsening

           country conditions, and a clear history of organized and systemic violence against

           religious minorities. Without reaching a legal conclusion, I believe that harm would be

           irreparable to a deported person. Such persecution would be particularly acute for any

           Christian Indonesian viewed as an evangelical Christian, a Christian activist or advocate,




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           or any Christian Indonesian otherwise noted for his or her religious views, such as these

           Plaintiffs.




Signed under the pains and penalties of perjury this 24th day of January, 2018.




                                                _/s/Jeffrey A. Winters___________
                                                Jeffrey A. Winters, Ph.D.




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EXHIBIT A
     Index of Media Reports Related to Federal Court Challenge to
     Deportation of Participants in Operation Indonesian Surrender
                     [INDONESIAN LANGUAGE]


  PAGE                    TITLE OF ARTICLE                                 LINK
   NO.
 1                 Puluhan Warga Indonesia Terancam
                   Dideportasi dari New Hampshire



 6                 Orang Kristen Indonesia di Amerika      http://medan.tribunnews.com/
                   Terancam Dipulangkan ke Tanah Air
                   (Aug. 31, 2017)

 13                Ribuan Warga Indonesia Terancam         http://poskotanews.com/2017/10/17
                   Deportasi dari Amerika Serikat (Oct.
                   17, 2017)

 18                Gubernur New Hampshire Minta
                   Trump Tidak Deportasi WNI di AS



 25                Satu Keluarga WNI di Amerika Serikat
                   Terancam Dideportasi
                   Metrotvnews.com 1

 27                Satu Keluarga WNI di Amerika Serikat
                   Terancam Dideportasi
                   Metrotvnews.com 2

 29                Satu Keluarga WNI di Amerika Serikat
                   Terancam Dideportasi
                   Metrotvnews.com

 31                Warga Kristen Indonesia di AS yang
                   'diusir' Trump ajukan gugatan hukum -
                   BBC Ind




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 47                Trump Usir Warga Negara Indonesia      http://www.inhilklik.com/news
                   Korban Kerusuhan 1998 dari Amerika
                   (Oct 18, 2017)

 50                Takut pulang ke Indonesia, WNI         https://www.merdeka.com
                   korban kerusuhan Mei 1998 di AS
                   terancam dideportasi (Oct. 18, 2017)

 57                Pemerintah Bantu WNI yang akan         https://tirto.id/
                   Dideportasi dari AS (Oct. 19, 2017)



 62                Ribuan WNI Korban Kerusuhan 1998
                   Terancam Dideportasi dari AS (Oct.
                   21, 2017)

 65                47 Warga Indonesia di New              https://www.voaindonesia.com
                   Hampshire, AS Hadapi Ancaman
                   Deportasi

 67                Patuhi Trump, Hakim AS                 https://kriminologi.id
                   Pertimbangkan Deportasi 47 WNI
                   (Oct. 21, 2017)

 71                Hakim AS Bebas Putra Kawanua,          http://www.indopostmanado.com/
                   Rombot: Terima Kasih Pendeta dan
                   Teman-teman (Nov 2, 2017)

 77                Warga Indonesia yang ditahan atas      http://www.bbc.com/indonesia
                   perintah Trump, dibebaskan (Nov 2,
                   2017)

 81                Pria Indonesia yang Ditahan di AS    https://international.sindonews.com
                   atas Perintah Trump Telah Dibebaskan
                   (Nov 2, 2017)

 85                Pengadilan Amerika Serikat Bebaskan
                   WNI Korban 98 yang Sempat Ditahan
                   (Nov 2, 2017)




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 89                Deportasi 51 WNI di New Hampshire      http://validnews.co/Deportasi
                   Ditunda (Nov 28, 2017)



 93                Akibat Kebijakan Trump, 51 WNI di AS   https://news.idntimes.com/world/faiz-
                   Terancam Deportasi (Dec. 21, 2017)     nashrillah



 96                Kisah WNI Terancam Dideportasi
                   Akibat Aturan Imigrasi Trump



 103               Warga Sulut Terancam Deportasi,
                   Pengadilan Tolak Perintah Trump –
                   Tren Sulut

 121               US govt responds over illegal
                   Indonesian immigrants




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       (21&&4>#'<A21&&4#0<6<H4#A46%'#0<121&&4>H41#$F#5%>41&#H<#(414A#426M
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Dozens of Indonesian Citizens in New Hampshire Facing
Deportation Threat
DP August 17, 2017 Community, Diaspora, Economy, Indonesia,
Opini,
Politics
Home > Diaspora > Community > Dozens of Indonesian Citizens in
New Hampshire Facing Deportation Threat
Twenty-two Indoneian citizens went to Carol Shea-Porter, a Congress
member in Rochester, New Hampshire, looking for help to escape
deportation threat. WMUR TV station reported on Tuesday
(8/15/2017) that the members of Marturia Presbyterian Church
Rochester were no longer given a temporary residence permit by the
US immigration office.


As is known, 68 Indonesian citizens were given a temporary residence
permit based on an “Order of Supervision” or under the supervision of
an official. They work with the immigration officials and were
required to check in with immigration officials every few months.


However, since April, the US immigration office was no longer
issuing a stay permit so they have to leave the US and return to their
home country.


“Around 65 to 75 percent of the people have been trying to receive
permanent legal status and now are slowly being told to go home,
where home is here,” Cindy Kohlmann, who represents Regional
Presbyterian Church, said.


Shop Related Products


Many of their stay permit processes were terminated. The immigrants
wo are too afraid to be identified said that the Indonesian citizens are
not criminal. “We're not criminal. We pay tax. We’re working and we


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(are) good people,” said a local immigrant who has lived in New
Hampshire for decades. A child sent a letter to the president asking
that their parents not be sent away.


There is legislation in committee in Congress to protect the
Indonesian community, but it would need to be acted on soon to help
the 68 Indonesian citizens. “In some cases, they left places where the
persecution was high,” Kohlmann said. Perhaps they perceived that
Indonesian citizens are still being persecuted in Indonesia such as in
the 1998 riot. In reality, however, under President Joko Widodo
administration, Indonesia launched massive infrastructure
development with the help of the Chinese government under President
Xi Jinping.



Deportation New Hampshire Presbyterian Church Rochester
Indonesian citizens




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Orang Kristen Indonesia
di Amerika Terancam
Dipulangkan ke Tanah Air
Kamis, 31 Agustus 2017 13:14




                                                                         BEN
HENRY FOR NHPR
Anggota gereja di Madbury merayakan Hari Kemerdekaan Indonesia.
TRIBUN-MEDAN.com-Di bawah kepresidenan sebelumnya, imigran Kristen
asal Indonesia yang tinggal secara ilegal di AS diminta untuk melapor ke petugas
imigrasi setiap beberapa bulan, namun mereka tidak dideportasi.
Di bawah Presiden Trump, kondisi itu berubah.
Dikutip dari nhpr.org, dua puluh tiga orang Indonesia di New Hampshire melapor
ke Imigrasi dan Bea Cukai pada tanggal 1 Agustus di Manchester dan diberitahu
bahwa mereka akan dideportasi dalam waktu satu bulan ke negara asal.
Gereja mereka, Marantha Indonesian United Church of Christ, merayakan Hari
Kemerdekaan Indonesia dengan berbagai permainan dan musik yang menutupi
kecemasan para jemaat.

Jemaat tersebut sebagian besar adalah imigran asal Indonesia yang mengaku
datang ke AS untuk menghindari penganiayaan.
Kabar bahwa lebih dari dua puluh anggota mereka akan dideportasi mengejutkan
semua orang.



                                                7
"Ini kondisi yang sulit," kata Pastor Sandra Pontoh. "Mereka yang dijadwalkan
untuk dideportasi khawatir tentang anak-anak mereka, mereka khawatir akan
kembali ke Indonesia."
Satu orang dari gereja itu, Terry Rombot, ditangkap saat melapor. Dia ditahan di
Plymouth County Correctional Facility, dan pengacaranya mengatakan bahwa dia
bisa dideportasi secepatnya minggu.

Teman dekat Rombot, yang tidak ingin namanya disebutkan, menangis ketika saya
bertanya tentang Rombot. Menurutnya, Rombot memiliki masalah jantung yang
membuat dia minum obat setiap hari, katanya.

"Jika Terry kembali ke Indonesia, mereka tidak memiliki obatnya, jadi kami
khawatir dengan penyakitnya."

Imigrasi dan Bea Cukai, atau ICE, tidak akan mengatakan kapan Rombot akan
dideportasi atau mengapa dia ditangkap.

Rombot, seperti orang lain di komunitasnya, tiba di Amerika pada akhir tahun
90an, masa kekerasan terhadap orang Kristen paling buruk di Indonesia. Mereka
memperpanjang visa mereka, dan mengajukan permohonan suaka tapi tidak
pernah mendapatkannya.

Sekitar tujuh puluh orang Indonesia sekarang tinggal secara tidak sah di New
Hampshire dan negara-negara sekitarnya.

ICE, bagaimanapun, tahu mereka ada di sini dan lokasinya. Dalam beberapa
kasus, ICE memiliki paspor mereka. Tapi selama bertahun-tahun, imigran ini
belum dideportasi.

Pemerintah telah memprioritaskan deportasi kepada penjahat dan anggota geng,
siapapun yang menimbulkan risiko kepada publik. Orang-orang seperti orang
Indonesia di New Hampshire bukanlah prioritas.

Namun pada bulan Januari, beberapa hari setelah pelantikannya, Presiden Donald
Trump menandatangani sebuah perintah eksekutif yang memperluas prioritas
deportasi dan memberi lebih banyak wewenang kepada petugas imigrasi setempat
untuk memutuskan siapa yang akan dideportasi.

Ketika kelompok orang Indonesia dari Madbury datang untuk check-in rutin
mereka di ICE bulan ini - proses normal birokrasi yang mereka gunakan- mereka
diberitahu untuk kembali pada bulan September dengan tiket pesawat kembali ke
Indonesia.




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Setelah perayaan Hari Kemerdekaan, Pastor Sandra Pontoh duduk dengan anggota
gereja. Perhatian langsung mereka adalah Terry Rombot, pria yang saat ini ditahan
oleh ICE, dan kelompok tersebut membahas tentang mengadakan doa di
Massachusetts.

Rombot tidak akan hadir di hadapan hakim, menurut pengacaranya, meskipun
beberapa di antaranya menghadapi deportasi dapat mencoba membuka kembali
kasus suaka mereka.

Saat teman dan keluarga meninggalkan gereja, sebuah telepon seluler berdering,
dan diserahkan ke Pontoh. Terry Rombot ada di ujung sana, memanggil dari
penjara.

Jika Rombot dideportasi, dia berkata, "itu tidak akan aman bagiku. Sampai saat
ini, situasi di Jakarta tidak aman. Masih banyak Muslim radikal. " Dia
menambahkan," Saya berharap para senator, wanita kongres, dan pastor dapat
membantu saya."

Kesehatan Rombot stabil saat ini dan dia sudah minum obatnya.
Pontoh, khawatir situasi akan memburuk, dan bahwa lebih banyak imigran di
komunitasnya tanpa status hukum akan menerima tanggal deportasi juga.
ICE menolak berkomentar mengenai masa depan para imigran yang belum diberi
tanggal deportasi.

"Apa pun yang akan terjadi itu di luar kuasa kita, semua di tangan Tuhan," kata
Pontoh. (*)




                                        9
Christian Indonesians in US Facing Deportation Threat – Tribun
Medan
Thursday, August 31, 2017 13:14




TRIBUN-MEDAN.com-Under past administrations, Christian
immigrants from Indonesia living illegally in the US were required to
check in with immigration officials every few months, but they were
not deported.
Under President Trump, that’s changing.
According to nhpr.org, twenty-three Indonesians in New Hampshire
arrived at a check-in on August 1st in Manchester and were told they
would be deported within a month, to a home country.


Their church, Marantha Indonesian United Church of Christ,
celebrated Indonesian Independence Day with games and music that
masked the community's anxiety.


The congregation is predominantly immigrants from Indonesia who
came to the US to escape the persecution. The news that more than


                                  ;
twenty of their members would be deported caught everyone by
surprise.


“It was hard," Pastor Sandra Pontoh said. “Those slated to be
deported worry about their children, they worry about going back to
Indonesia.”


(Read: Resenting Luxurious Life, Sole Daughter of Djarum’s Boss
Family Becomes a Nun)


One person from the church, Terry Rombot, was arrested at that
check-in. He’s being held at Plymouth County Correctional Facility,
and his lawyer says he could be deported as soon as this week.


A close friend of Rombot, who didn't want her name to be used,
breaks into tears when I ask about Rombot.


Rombot has a heart condition that he takes medication for daily, she
said.


“If Terry goes back to Indonesia, they don’t have the medicine, so we
worry about his sickness.”


Immigration and Customs Enforcement, or ICE, won’t say when
Rombot will be deported or why he was arrested.


Rombot, like others in his community, arrived in the US in the late
90s, when violence against Christians was at its worst in Indonesia.
They overstayed their visas, and applied for asylum but never got it.


Around seventy Indonesians are now living illegally in New
Hampshire and surrounding states.


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ICE, however, knows they’re here and their locations. In some cases,
ICE has their passports. But for years, these immigrants haven’t been
deported.


The government has prioritized the deportation of criminals and gang
members, anyone who poses a risk to the public. People like the
Indonesians in New Hampshire were not a priority.


But in January, days after his inauguration, President Donald Trump
signed an executive order broadening deportation priorities and
giving more power to local immigration officials in deciding who to
deport.


When the group of Indonesians from Madbury came for their regular
check-in with ICE this month--a normally bureaucratic proceeding
they had gotten used to-- they were told to return in September with
plane tickets back to Indonesia.


After the Independence Day festivities, Pastor Sandra Pontoh sits
with members of the church. Their immediate concern is Terry
Rombot, the man currently detained by ICE, and the group discusses
holding a prayer vigil in Massachusetts.


Rombot will not appear before a judge, according to his lawyer,
although some of the others facing deportation may try to reopen
their asylum cases.


As friends and family depart the church, a cell phone rings, and is
handed to Pontoh. Terry Rombot is on the other end, calling from
jail.
If Rombot is deported, he says, “it won’t be safe for me. Until now,
the situation in Jakarta is not safe. There are still so many radical


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Muslims." He adds, "I’m hoping that the senators, the
congresswomen, and the pastors will be able to help me.”


Rombot’s health is stable at the moment and he’s been taking his
medication.


Pontoh, however, fears the situation will get worse, and that more of
the immigrants in her community without legal status could receive
deportation dates too.


ICE declined to comment on the future of those immigrants who have
yet to be given deportation dates.


“Whatever’s going to happen is not in our hands," Pontoh says, "but
in God’s hands."




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http://poskotanews.com/2017/10/17
Korban Kekerasan 1998

Ribuan Warga Indonesia Terancam Deportasi dari
Amerika Serikat
Selasa, 17 Oktober 2017 — 8:23 WIB



                                                                             reuter




                                                                             AMERIKA




SERIKAT (Reuters) – Sejak melarikan diri dari kekerasan mematikan di Indonesia dua
dekade yang lalu, Meldy dan Eva Lumangkun membangun kehidupan di pinggiran kota
New Hampshire dan membesarkan empat anak, status ilegal mereka telah lama ditolerir
oleh otoritas imigrasi A.S.

Tapi saat mereka muncul di kantor Imigrasi dan Bea Cukai di Manchester pada bulan
Agustus untuk check-in reguler mereka, mereka diminta untuk membeli tiket sekali jalan
kembali ke Indonesia dan keluar dari Amerika Serikat dalam dua bulan.

“Kami takut pulang ke rumah. Kami takut akan keselamatan anak-anak kami, “kata
Meldy Lumangkun usai pertemuan Oktober dengan pejabat ICE di Manchester. “Di sini
anak-anak kita bisa hidup dengan aman.”

Lumangkuns tersebut termasuk di antara sekitar 2.000 orang Kristen Tionghoa yang
melarikan diri ke New Hampshire untuk menghindari kerusuhan di ekonomi terbesar di
Asia Tenggara yang menewaskan sekitar 1.000 orang pada tahun 1998 pada puncak
krisis keuangan Asia.

Mereka juga berada di antara puluhan ribu imigran ilegal di Amerika Serikat yang
sekarang menghadapi kemungkinan deportasi setelah pemerintahan Trump membuka
kembali kasus orang-orang yang, seperti Lumangkun, yang telah mendapat
penangguhan hukuman di bawah pemerintahan masa lalu. S



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elama kampanye kepresidenannya, Donald Trump mengatakan bahwa dia akan
membersihkan negara dari jutaan imigran ilegal. Sejak pindah ke Gedung Putih pada
bulan Januari, penangkapan imigrasi meningkat tiga kali lipat sejak awal tahun ini
menjadi rata-rata 142 orang per hari, meskipun deportasi aktual turun dari
pendahulunya, Barack Obama.

Lumangkun dan orang Kristen Indonesia lainnya di New Hampshire mengatakan bahwa
mereka takut akan diskriminasi atau kekerasan agama jika mereka kembali ke
Indonesia. Karena residen atas kontrol mereka yang luas atas perdagangan dan bisnis,
dan dugaan loyalitas ke China, orang Indonesia-China sering menjadi sasaran
diskriminasi rasial di Indonesia, negara berpenduduk Muslim terbesar di dunia.

Pada tahun 1998, massa yang mengamuk menargetkan bisnis milik China dan dalam
beberapa kasus membunuh dan memperkosa orang Tionghoa-Indonesia, memaksa
ratusan orang untuk melarikan diri dari negara tersebut.

Sebagian besar orang Indonesia yang saat ini menghadapi deportasi memasuki
Amerika Serikat secara legal, sering mengunjungi visa turis, namun memperpanjangnya.
Mereka kemudian gagal mendapatkan suaka dalam waktu satu tahun dan tidak tahu
batas waktunya.

Mereka baru kemudian mencoba mencari status hukum, dan yang sekarang
menghadapi deportasi gagal. Berdasarkan ketentuan kesepakatan yang dinegosiasikan
dengan ICE pada tahun 2012 dengan bantuan Senator AS Jeanne Shaheen, kelompok
tersebut diizinkan untuk tinggal di negara tersebut jika mereka menyerahkan paspor
mereka dan melakukan check-in reguler pada jadwal yang berbeda-beda oleh ICE.

Dimulai pada bulan Agustus, anggota kelompok termasuk Lumangkun, diperintahkan
untuk bersiap kembali ke Indonesia, sebuah garis yang lebih keras yang menurut
pejabat ICE diselaraskan dengan perintah eksekutif yang ditandatangani oleh Trump
pada 25 Januari yang membatalkan banyak kebijakan imigrasi era Obama.

Di bawah pedoman baru, sementara penjahat tetap menjadi prioritas tertinggi untuk
deportasi, hampir semua orang di negara tersebut secara ilegal adalah target
potensial. “Perintah eksekutif yang ditandatangani Presiden Trump pada Januari
mengubah segalanya,” kata juru bicara ICE Shawn Neudauer.Banyak pasangan yang
menghadapi deportasi memiliki anak, kata Sandra Pontoh, pendeta Persekutuan
Indonesia Madbury Maranatha di Madbury, New Hampshire.(Tri)




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Thousands of Indonesian Citizens in US Facing Deportation
Threat




UNITED STATES (Reuters) - Since fleeing a deadly riot in Indonesia
two decades ago, Meldy and Eva Lumangkun built a life n suburban
New Hampshire, and raised their four children where their illegal
status long tolerated by U.S. immigration authorities.

But when they showed up at the Immigration and Customs
Enforcement office in Manchester in August for their regular check-
in, they were told to buy one-way tickets back to Indonesia and get
out of the United States in two months.

"We are afraid to go home. We fear for the safety of our children.”

Meldy Lumangkun said after an October meeting with ICE officials
in Manchester. “Here our children can live safely,"

The Lumangkuns are among about 2,000 ethnic Chinese Indonesian
Christians who fled to New Hampshire to escape rioting in Southeast
Asia's biggest economy that killed about 1,000 people in 1998 at the
height of Asia's financial crisis.



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They are also among tens of thousands of illegal immigrants in the
United States now facing possible deportation after the Trump
administration moved to reopen cases of people who, like the
Lumangkuns, had been given a reprieve under past administrations.

During his presidential campaign, Donald Trump said he would purge
the country of millions of illegal immigrants. Since he moved into the
White House in January, immigration arrests have tripled since the
start of the year to an average of 142 people a day, though actual
deportations are down from the rate under Trump's Democratic
predecessor, Barack Obama.

The Lumangkuns and other Indonesian Christians in New Hampshire
say they fear religious discrimination or violence if they return to
Indonesia. Resented for their wide control over trade and business,
and suspected of loyalty to China, Indonesian-Chinese have often
been the target of racial discrimination in Indonesia, the world's most
populous Muslim country.

In 1998, rampaging mobs targeted Chinese-owned businesses and in
some cases killed and raped Chinese-Indonesians, forcing hundreds to
flee the country.

Most of the Indonesians now facing deportation entered the United
States legally, often on tourist visas, but overstayed them. They then
failed to apply for asylum within a year of entering the country, a
deadline many were unaware of, according to immigrants, as well as
advocates and attorneys.

They only later tried to seek legal status, and the ones now facing
deportation failed. Under the terms of a deal negotiated with ICE in
2012 with the help of U.S. Senator Jeanne Shaheen, the group was
allowed to remain in the country if they surrendered their passports
and appeared for regular check-ins set on varying schedules by ICE.

Beginning in August, members of the group including the
Lumangkuns, were told to prepare to return home, a tougher line that


                                   27
ICE officials said was aligned with an executive order signed by
Trump on Jan. 25 overturning many Obama-era immigration policies.

Under the new guidelines, while criminals remain the highest priority
for deportation, almost anyone in the country illegally is a potential
target. "The executive order that President Trump signed in January
changed everything," said ICE spokesman Shawn Neudauer. Many of
the couples facing deportation have children, said Sandra Pontoh,
pastor of the Madbury Maranatha Indonesian Fellowship in Madbury,
New Hampshire. (Tri)




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      Warga Indonesia yang beragama Kristen itu memasuki Amerika Serikat
      secara legal dengan visa turis setelah kerusuhan 1998, yang meletus
      di akhir krisis keuangan Asia dan memicu reformasi demokrasi di
      Indonesia.

       Mereka memperpanjang visa mereka dan gagal melamar suaka tepat
       pada waktunya, namun diizinkan untuk tinggal secara terbuka sesuai
       kesepakatan dengan ICE, melakukan negosiasi dengan bantuan
       Senator AS Jeanne Shaheen, dari Partai Demokrat.


      (Raffia)
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https://m.detik.com/news/bbc-world/d-3698069/gubernur-new-hampshire-minta-trump-tidak-deportasi-wni-di-as   1/8/18, 4:42 PM
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                                                                    21
New Hampshire Governor Asks Trump Not to Deport
Indonesian Citizens in US




Washington - New Hampshire Governor Chris Sununu on Monday asked U.S.
President Donald Trump to halt an effort to deport 69 Indonesian Christians
who fled the 1998 riot in that country and are living illegally in the state.


"I am respectfully requesting that your administration reconsider its decision to
deport these individuals, and I urge a resolution that will allow them to remain
in the United States," wrote Sununu in a letter to Trump dated Friday (10/20),
which his office made public on Monday.


"While I firmly believe that we must take steps to curb illegal immigration, it is
also imperative that we make the process for legal immigration more
streamlined and practical."


The White House did not respond to a request for comment.
These Indonesian immigrants had been living in the state under the terms of a
2010 deal worked out with Immigration and Customs Enforcement (ICE).



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The deal allowed them to remain so long as they handed in their passports and
turned up for regular check-ins with immigration officials.


* “Deported” Christian Indonesians in US file lawsuits


That changed starting in August when members of the group who arrived for
scheduled meetings with ICE officials at the agency's Manchester, New
Hampshire, office were told to buy one-way plane tickets back to Indonesia,
which they fled after 1998 riot.


The 69 individuals who are all ethnic Chinese, told Reuters they fear that they
would face discrimination or violence if they returned to the world's largest
majority-Muslim country.


Immigration advocates have filed lawsuits in Boston on behalf of 47 members
of the group asking a federal court judge to intervene.



* US halts deportation of illegal immigrants
* Obama’s solution to 6 million illegal immigrants



Chief U.S. District Judge Patti Saris has ordered a stay to the deportations, but
has indicated that she has little jurisdiction over immigration, which is handled
by the Executive Office for Immigration review.




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Many Indonesians who have lived in the United States illegally, have children
born in that country. Reuters
She is currently weighing whether she can order a longer delay to give the
affected people who are studying, many of whom have U.S.-born children, time
to renew their efforts to gain legal status.


The Christian Indonesians entered the United States legally on tourist visas
following the 1998 riot, which erupted at the start of the Asian financial crisis.



They overstayed their visas and failed to apply for asylum on time, but have
been allowed to live openly under the accord with ICE, negotiated with the help
of U.S. Senator Jeanne Shaheen, a Democrat.



(ita/ita)




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   Belakangan, saat mereka mendatangi kantor Imigrasi
   dan Bea Cukai di Manchester (wilayah AS) pada
   Agustus untuk "check-in reguler"mereka. Namun,
   mereka diminta untuk membeli tiket kembali ke
   Indonesia dan keluar dari AS dalam waktu dua bulan.

   "Kami takut pulang ke rumah. Kami takut akan
   keselamatan anak-anak kami. Di sini anak-anak kita
   bisa hidup dengan aman," ujar Meldy, dikutip dari
   Channel News Asia, Selasa 17 Oktober 2017.

  Keluarga ini tersebut termasuk di antara sekitar 2.000
  orang Kristen Tionghoa yang melarikan diri ke New
  Hampshire untuk menghindari kerusuhan di Jakarta
  pada 1998 silam. Selain AS, Singapura dan Australia
  juga menjadi tempat persembunyian para WNI ini.

   Mereka juga termasuk di antara puluhan ribu imigran
   ilegal yang hidup di AS di many mereka menghadapi
   ancaman deportasi ke negara masing-masing setelah
   adminstrasi Presiden Donald Trump dikabarkan akan
   membuka kembali kasus pelarian imigran ilegal yang
   telah mendapat penangguhan hukuman di bawah
   pemerintahan yang lalu.




https://www.google.com/amp/www.metrotvnews.com/amp/1bV4EoLK-satu-keluarga-wni-di-amerika-serikat-terancam-dideportasi   1/11/18, 9:43 PM
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Recently, when they showed up at the Immigration and Customs
Enforcement office in Manchester (US) in August for their regular
check-in, they were told to buy one-way tickets back to Indonesia and
get out of the United States in two months.

"We are afraid to go home. We fear for the safety of our children.
Here our children can live safely," Meldy was quoted as saying by
Channel News Asia, Tuesday, October 17, 2017.

The family is among about 2,000 ethnic Chinese Indonesian
Christians who fled to New Hampshire to escape rioting in Jakarta in
1998. Besides US, some of them also fled to Singapore and Australia.

They are also among tens of thousands of illegal immigrants in the
United States now facing possible deportation after the Trump
administration moved to reopen cases of people who had been given a
reprieve under past administrations.




                                  37
   Selama kampanye, Trump mengatakan bahwa dia
   akan membersihkan negara jutaan imigran ilegal.
   Sejak pindah ke Gedung Putih pada bulan Januari,
   penangkapan imigrasi meningkat tiga kali lipat sejak
   awal tahun ini menjadi rata-rata 142 orang per hari.
   Kendati demikian, deportasi agak menurun dari saat
   AS dipimpin Barack Obama.

  "Kami takut akan diskriminasi atau kekerasan agama
  jika kembali ke Indonesia. Kami ingin tinggal di sini
  (Amerika)," lanjutnya lagi.

   Sebagian besar orang Indonesia di AS yang saat ini
   sedang menghadapi ancaman deportasi, diketahui
   masih memakai visa turis dan selalu
   memperpanjangnya.

   Ada pula yang sudah tinggal di AS selama satu tahun
   namun gagal mendaftar sebagai pencari suaka. Tetapi,
   mereka bersikukuh untuk tetap tinggal di AS secara
   ilegal dan berujung pada penangkapan serta deportasi.

   Editor : Fajar Nugraha




https://www.google.com/amp/www.metrotvnews.com/amp/1bV4EoLK-satu-keluarga-wni-di-amerika-serikat-terancam-dideportasi   1/11/18, 9:43 PM
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During his presidential campaign, Trump said he would purge the
country of millions of illegal immigrants. Since he moved into the
White House in January, immigration arrests have tripled since the
start of the year to an average of 142 people a day. Nevertheless,
actual deportations are down from the rate under Barack Obama.

“We fear religious discrimination or violence if we return to
Indonesia. We want to stay here (in the US),” he added.

Most of the Indonesians now facing deportation entered the United
States legally, often on tourist visas, but overstayed them.

There are also some who failed to apply for asylum within a year of
entering the country. However, they insist to live in the US illegally
which leads to arrest and deportation.

Editor: Fajar Nugraha




                                   39
   Paspor Indonesia sebagai kartu tanda pengenal WNI yang berada di luar
   neger (Foto: ANTARA).



  Satu Keluarga WNI di Amerika
  Serikat Terancam Dideportasi
                                                 12:5


   Metrotvnews.com, Jakarta: Karena dianggap ilegal,
   dua Warga Negara Indonesia (WNI), Meldy dan Eva
   Lumangkun beserta empat anak mereka terancam
   dideportasi. Mereka telah hidup cukup lama di New
   Hampshire, Amerika Serikat (AS), status ilegal mereka
   telah lama ditoleransi oleh otoritas imigrasi AS.




https://www.google.com/amp/www.metrotvnews.com/amp/1bV4EoLK-satu-keluarga-wni-di-amerika-serikat-terancam-dideportasi   1/11/18, 9:42 PM
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Indonesian passport serves as identity document for Indonesians overseas (Photo:
ANTARA).

Indonesian Family in US Facing Deportation Threat

Sonya Michaella, Tuesday, October 17, 2017 12:52

Metrotvnews.com, Jakarta: Due to their illegal status, two Indonesian citizens, Meldy and
Eva Lumangkun and their four children face deportation threat. They have built a life for
quite some time in New Hampshire where their illegal status long tolerated by U.S.
immigration authorities.




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      Warga Kristen Indonesia di AS
      yang 'diusir' Trump ajukan gugatan
      hukum - BBC Indonesia
      Reuters




      Banyak WNI yang telah tinggal lama di Amerika secara ilegal, memiliki anak yang lahir di sana.



      Kementerian Luar Negeri Indonesia menyatakan pelaksanaan
      deportasi terhadap dua WNI di Negara Bagian New Hampshire,
      Amerika Serikat, Meldy dan Eva Lumangkun, ditunda, setelah
      keduanya mengajukan gugatan hukum.

      "Gugatannya adalah h abeas c orpus , yaitu gugatan yang mirip
      praperadilan untuk menguji keabsahan satu Iangkah hukum," kata


https://www.google.com/amp/s/www.bbc.com/indonesia/amp/indonesia-41649772                              1/11/18, 9:40 PM
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      Direktur Perlindungan WNI Kementerian Luar Negeri, Lalu Muhammad
      lqbal, kepada BBC Indonesia, Selasa (17/10).

          • Empat WNI akan dideportasi dari Amerika Serikat
          • WNI yang bergabung ISIS, Indonesia 'tidak bisa tolak
            deportasi'

      "Mereka mengajukan suaka sejak paska 1998, tetapi ditolak, sehingga
      keluarlah perintah deportasi itu. Dan mereka (pun kemudian)
      mengajukan habeas corpus . Hakim sudah mengeluarkan keputusan
      sela yang meminta deportasi ditunda."

      Penundaan deportasi ini, menurut Lalu, akan berlaku sampai
      pengadilan memutuskan apakah "memiliki kewenangan untuk
      menangani gugatan tersebut atau tidak."

      Reuters




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      Saat pertemuan 'chek-in' di bulan Agustus, Meldy dan Eva diminta meninggalkan Amerika Serikat



      Pasangan Meldy dan Eva yang merupakan warga etnik Cina beragama
      Kristen, pergi meninggalkan Indonesia, hampir dua dekade lalu, karena
      khawatir terhadap dampak tragedi Mei 1998. Sejak tinggal di Amerika,
      mereka telah memiliki empat orang anak.

      "Kami takut pulang. Khawatir dengan keselamatan anak-anak," kata
      Meldy Lumangkun seperti dikutip kantor berita Reuters. "Di sini
      (Amerika) anak-anak aman."

      Reuters




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      Kebijakan imigrasi pemerintahan Presiden Donald Trump mendapat banyak kritikan.



      Sebelumnya, karena status mereka yang ilegal di Amerika, Meldy dan
      Eva, harus melapor diri tahunan yang disebut 'chek-in' ke pihak
      Imigrasi dan Penegakan Bea Cukai Amerika Serikat (ICE).

      Namun, tahun ini pertemuan yang digelar pada bulan Agustus
      tersebut, berbeda. Di bawah pemerintahan Trump mereka diminta
      untuk segera membeli tiket, dan harus terbang pulang ke Indonesia
      dalam dua bulan.

      Lebih ketat dibanding Obama

      Meldy dan Eva adalah dua dari sekitar 2.000 warga etnik Cina asal
      Indonesia yang melarikan diri ke New Hampshire, karena ketakutan
      terhadap persekusi pada etnik Cina menyusul kerusuhan 1998.
      Mayoritas dari mereka masuk ke Amerika Serikat dengan
      menggunakan visa turis, kemudian diam-diam tinggal lama di sana,


https://www.google.com/amp/s/www.bbc.com/indonesia/amp/indonesia-41649772               1/11/18, 9:40 PM
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      dan menjadi penduduk ilegal.




      Image caption Pada masa pemerintahan Barack Obama tercapai kesepakatan yang membolehkan
      pendatang ilegal untuk tinggal di Amerika dengan syarat.



      Pada masa pemerintahan Barack Obama yang cenderung 'Iebih rileks'
      terhadap pendatang, telah tercapai kesepakatan antara para imigran
      Indonesia tersebut dengan ICE. Mereka diperbolehkan tinggal di
      Amerika, dengan syarat paspor mereka ditahan dan mereka harus
      melakukan 'check-in' secara reguler.

      Berdasarkan catatan ICE, terdapat 69 warga Kristen Indonesia di New
      Hampshire dan 45 warga Kristen Indonesia di New Jersey, yang
      berada di Amerika dengan kesepakatan ICE.

      Total terdapat 41.854 orang dari seluruh dunia yang tinggal di Amerika
      Serikat dengan kelonggaran itu.




https://www.google.com/amp/s/www.bbc.com/indonesia/amp/indonesia-41649772                       1/11/18, 9:40 PM
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      Namun, semuanya berubah ketika Presiden Donald Trump mulai
      memimpin Amerika. Para imigran Indonesia ini terancam dideportasi.




      Image copyright Reuters

      Image caption Komunitas Kristen di New Hampshire mendesak pemerintahan Donald Trump untuk tidak
      melakukan deportasi.


      Meskipun begitu, Lalu Muhammad lqbal menyebut berbagai upaya
      hukum terus dilakukan warga Indonesia di sana, agar tidak dideportasi.
      Dan dia menegaskan Meldy dan Eva belum akan dideportasi.

      "Biasanya kita (Kemenlu) diberitahu. Ketika kita diminta (oleh Amerika)
      mengeluarkan travel dokumen, itu sekaligus memberitahukan pada
      kita bahwa ada WNI kita yang akan dideportasi...," kata Lalu.

      Namun, tambahnya, "sejauh ini, kita belum mengeluarkan travel


https://www.google.com/amp/s/www.bbc.com/indonesia/amp/indonesia-41649772                         1/11/18, 9:40 PM
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      dokumen untuk pemulangan orang tersebut (Meldy dan Eva), dan
      mereka (Amerika) juga belum meminta."




      Image copyright Reuters

      Image caption Kekhawatiran muncul karena deportasi ditakutkan akan memisahkan anggota keluarga.


      Lalu menegaskan, pemerintah Indonesia akan selalu menerima
      kembalinya warga Indonesia yang ikut dalam kesepakatan ICE tetapi
      harus dideportasi.

      "Tidak ada peraturan kita yang tidak membolehkan orang kembali ke
      Indonesia. Selama orang itu memegang paspor Indonesia, mereka
      berhak masuk ke Indonesia," tutur Lalu.

          • Indonesia 'sayangkan' kebijakan imigrasi Trump, Malaysia 'diam'
          • Sabah dan Miangas 'jadi jalur masuk' milisi WNI ke Marawi


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      Situasi menjadi kompleks bagi warga Indonesia di New Hampshire,
      "karena banyak dari mereka yang sudah punya anak," kata Sandra
      Pontoh, seorang pastor asal Indonesia di New Hampshire, kepada
      Reuters.

      "Sangat stres dibuatnya," kata Jacklyn Lele, seorang perempuan
      Indonesia yang terbang ke Amerika Serikat pada 2006 lalu setelah
      saudara lelakinya tewas pada tragedi 1998.




      Image copyright Reuters

      Image caption Berbagai protes dilakukan komunitas Kristen di New Hampshire untuk mendukung Meldy
      dan Eva.



      Dari 69 warga Kristen Indonesia yang tinggal di New Hampshire,
      kebanyakan hidup di kawasan tepi pantai negara bagian itu. Mereka
      bekerja di berbagai pabrik dan menikmati hidup yang tenang dan


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      Indonesia 'sayangkan' kebijakan imigrasi Trump, Malaysia 'diam'

      30 Januari 2017




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Christian Indonesians in US “Deported” by Trump File Lawsuits
– BBC Indonesia




Many of Indonesian citizens living in US illegally have U.S.-born
children.



Indonesian Foreign Ministry stated that the deportation of two
Indonesian citizens in New Hampshire State, the United States,
Meldy and Eva Lumangkun, was delayed, after the couple filed a
lawsuit.



“The lawsuit is habeas corpus which is similar to due process of law,”
Lalu Muhammad Iqbal, Director of Protection for Indonesians
Overseas of Ministry of Foreign Affairs told BBC Indonesia, Tuesday
(10/17).




                                  52
* Four Indonesians to be deported from US



* Indonesia “cannot oppose deportation” of citizens joining ISIS



“They apply for an asylum after 1998 but was rejected which leads to
the deportation order. Then they filed habeas corpus. The judge had
issued an interim ruling to put the deportation on hold.”



According to Lalu, the (deportation) will be delayed until the court
decides whether or not “it has the authority to hear the case.”

Reuters




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When they showed up in August for their regular check-in, they were
told to leave the United States



Meldy and Eva, who are ethnic Chinese Indonesian Christians, fled
Indonesia nearly two decades ago for fear of the impact of the May
1998 riot. Since living in the US, they have four children.



"We are afraid to go home. We fear for the safety of our children.”
Meldy Lumangkun told Reuters. “Here our children can live safely,"



Reuters




Previously, due to their illegal status in the US, Meldy and Eva have
to check-in regularly at the Immigration and Customs Enforcement
(ICE) office.



                                  54
But, the meeting in August was different. Under Trump
administration, they were told to buy one-way tickets back to
Indonesia and get out of the United States in two months.

Stricter than Obama

Meldy and Eva are among about 2,000 ethnic Chinese Indonesian
Christians who fled to New Hampshire to escape rioting in Southeast
Asia's biggest economy that killed about 1,000 people in 1998 at the
height of Asia's financial crisis. Most of them entered the United
States on tourist visas, but overstayed them and became illegal
immigrants.



During Obama administration, there was a deal allowing them to stay
in the US.

Under Obama administration who was more ‘friendly’ towards
immigrants, there was an accord between Indonesian immigrants and
the ICE. They were allowed to remain in the country if they
surrendered their passports and appeared for regular check-ins.

Based on ICE’s record, there are 69 Christian Indonesians in New
Hampshire and 45 Christian Indonesians in New Jersey living in the
US under the deal with the ICE.

In total, there are 41,854 people from around the world living in the
US based on the deal.

But things are changing after the inauguration of President Donald
Trump. Indonesian immigrants now face deportation threat.

Christian community in New Hampshire urged Donald Trump
administration not to carry out deportation




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Nevertheless, Lalu Muhammad Iqbal said that Indonesian citizens in
the country have conducted various legal efforts to avoid deportation.
And he assured that Meldy and Eva have not been deported yet.

“Usually, we (Foreign Ministry) will be notified. When we are asked
(by the US) to issue a travel document, then it also serves as a
notification that there are Indonesian citizens who will be
deported…,” said Lalu.

However, he added, “so far we haven’t issued a travel document for
the deportation of the concerned individuals (Meldy and Eva) and
they (US) have not asked for it either.”

There is a concern that deportation will separate family members.

Lalu stated that Indonesian government will always welcome the
return of its citizens who are parties to the ICE deal but have to be
deported.

“There are no rules in our country that do not allow their return to
Indonesia. So long that they hold Indonesian passports, then they have
the right to enter Indonesia,” Lalu said.

*Indonesia ‘criticizes’ Trump’s immigration policy, Malaysia
‘silenced’

* Sabah and Miangas ‘serve as entry points’ for Indonesian militias to
enter Marawi

The situation becomes complicated for Indonesian citizens in New
Hampshire “because many of the couples facing deportation have
children,” said Sandra Pontoh, Indonesian pastor in New Hampshire
told Reuters.

“It’s very stressful,” said Jacklyn Lele, Indonesian female citizen who
fled to the United States in 2006 after her brother was killed in the
1998 violence.

Various protests were held by Christian community in New
Hampshire to support Meldy and Eva.


                                    56
Most of the 69 Christian Indonesians live in New Hampshire’s
seacoast region. They have found work in small factories and raised
families, enjoying life in the quiet, bucolic state. Some serve as
church pastors.

Lalu Muhammad Iqbal admitted the complexity of the situation.

“Migration is basic human right. If they want to become the citizens
of other country, then that’s their right. However, whether or not they
will be accepted then that’s the right of the destination country. We
cannot intervene,” said Lalu.

Related news

Four Indonesian citizens to be deported from the US

May 10, 2017



Indonesia ‘criticizes’ Trump’s immigration policy, Malaysia
‘silenced’

January 30, 2017




                                   57
(tirto.id - rio / nqm)

jvvr<00yyy/kpjknmnkm/eqo0pgyu!



Trump Usir Warga Negara
Indonesia Korban Kerusuhan
1998 dari Amerika
Rabu, 18 Oktober 2017 - 08:41:23 WIB
INHILKLIK.COM, NEW HAMPSHIRE - Ribuan warga negara Indonesia (WNI)
hijrah ke Amerika Serikat untuk menghindari kekerasan rasial yang menjamur
pada 1998. Selama hampir 20 tahun mereka hidup dengan tenang di Negeri
Paman Sam.
Namun, kini keberadaan mereka terancam. Perintah eksekutif yang diteken
Presiden Donald Trump pada Januari lalu menyebabkan para WNI itu tak
diterima lagi di AS.
Salah satu yang terdampak kebijakan itu adalah keluarga Lumangkun. Agustus
lalu, saat melapor ke Immigration and Customs Enforcement (ICE) di Kota
Manchester, Hillsborough County, Negara Bagian New Hampshire, Meldy dan
Eva Lumangkun diusir.
Mereka diberi waktu dua bulan untuk angkat kaki dari negara yang didirikan oleh
imigran tersebut. ’’Kami tidak mungkin pulang (ke Indonesia). Kami
mengkhawatirkan keselamatan anak-anak kami,’’ ungkap Meldy sebagaimana
dilansir Reuters kemarin, Senin (16/10).
Terkait keputusan ICE pada Agustus, dia telah membicarakannya lebih lanjut
dengan pihak-pihak terkait sejak awal Oktober. Selain Meldy, ada sekitar 60
warga Indonesia lain yang tinggal di New Hampshire pasca kerusuhan 1998.
Shawn Neudauer, jubir ICE, mengatakan bahwa dirinya hanya menjalankan
tugas sesuai dengan perintah eksekutif Trump.
Dalam perintah eksekutif kontroversial yang juga melahirkan Muslim Ban itu,
presiden ke-45 AS tersebut meminta aparat berwenang memulangkan seluruh
imigran yang masuk secara ilegal. Termasuk keluarga Lumangkun dan puluhan
lainnya.
Bukan hanya imigran dari Indonesia, ICE menarget seluruh imigran yang masuk
secara ilegal ke AS. ’’Kini semua sudah tidak sama lagi,’’ kata Neudauer.
Trump memperketat seluruh aturan imigrasi. Dia juga menghentikan atau
mencabut seluruh kebijakan pemerintahan sebelumnya yang dianggap terlalu
lembek. Prioritas Trump saat ini adalah membersihkan AS dari para imigran
ilegal.
Lumangkun merupakan bagian dari sekitar 2.000 penduduk Indonesia yang rata-
rata keturunan Tionghoa yang pada 1998 menjadi bulan-bulanan aparat dan
kelompok ekstrem.




                                       58
Pada tahun yang sama, mereka berbondong-bondong pergi ke AS untuk
memulai hidup baru. Ketika itu mereka rata-rata masuk dengan visa turis.
Namun, visa tersebut lantas tidak diperpanjang. Mereka pun tinggal secara
ilegal.
Pada era Presiden Barack Obama, Lumangkun dan orang-orang Indonesia
lainnya mendapat ampunan meski menetap secara ilegal. Saat itu Washington
tidak memulangkan para imigran tersebut.
Mereka boleh tetap tinggal di AS jika melaporkan keberadaannya secara rutin.
’’Mereka harus menyerahkan paspor dan menepati jadwal lapor ke ICE,’’ kata
senator Jeanne Shaheen. Kini kebijakan itulah yang dihapus Trump.
Selain di New Hampshire, penduduk Indonesia yang menghindari kerusuhan
1998 menetap di Negara Bagian New Jersey. Selama di AS mereka bekerja di
sektor krusial.
’’Mereka melakukan pekerjaan-pekerjaan yang penting. Mengganti mereka
dengan orang baru bukan perkara mudah,’’ ucap Shaheen.
Politikus Partai Demokrat itu mengatakan bahwa penduduk Indonesia di dua
negara bagian tersebut sudah mengajukan banding di Pengadilan Boston. Kini
kasus mereka sedang berjalan. (yan/jpnn)




Trump Expelled Indonesian
Citizens Victims of 1998 Riots
from America
Wednesday, October 18, 2017 - 08:41:23 WIB


INHILKLIK.COM, NEW HAMPSHIRE - Thousands of Indonesian citizens
migrated to the United States to avoid racial violence that mushroomed in 1998.
For almost 20 years they live peacefully in Uncle Sam's country.
However, now their existence is threatened. The executive order signed by
President Donald Trump in January caused the Indonesians not to be accepted
again in the United States.
One of those affected was the Lumangkun family. Last August, when reporting to
Immigration and Customs Enforcement (ICE) in Manchester City, Hillsborough
County, New Hampshire State, Meldy and Eva Lumangkun were expelled.
They were given two months to lift their feet from the country founded by the
immigrants. '' We can not go home (to Indonesia). We are worried about the




                                         59
safety of our children, '' Meldy said as quoted by Reuters yesterday, Monday
(16/10).
Related to ICE's decision in August, he has discussed it further with related
parties since early October. In addition to Meldy, there are about 60 other
Indonesians living in New Hampshire after the 1998 riots.
Shawn Neudauer, an ICE spokesperson, said that he only runs the job in line
with the orders of the Trump executive.
In a controversial executive order that also spawned the Ban Muslims, the 45th
US president asked the authorities to repatriate all illegal immigrants. Including
Lumangkun family and dozens more.
Not only immigrants from Indonesia, ICE targets all illegal immigrants to the
United States. '' Now it's not the same anymore, '' said Neudauer.
Trump tightens all immigration rules. He also stopped or revoked all previous
government policies that were considered too soft. Trump's priority today is to
clear the US from illegal immigrants.
Lumangkun is part of about 2,000 Indonesians who are of average Chinese
descent who in 1998 became the month-to-month apparatus and extreme group.
In the same year, they flocked to the United States to start a new life. At that time
they were on average on a tourist visa. However, the visa is then not
renewed. They also live illegally.
In the era of President Barack Obama, Lumangkun and other Indonesians got
forgiveness despite staying illegally. At that time Washington did not repatriate
the immigrants.
They may remain in the US if they report their presence on a regular basis. ''
They have to submit passports and keep a schedule to report to ICE, '' said
senator Jeanne Shaheen. It's now Trump's policy that removed it.
In addition to New Hampshire, Indonesians who evaded the 1998 riots settled in
the State of New Jersey. While in the US they work in crucial sectors.
'' They do important jobs. Replacing them with new people is not an easy matter,
'' said Shaheen.
The Democratic Party politician said that the Indonesian population in the two
states had already filed an appeal in the Boston Court. Now their case is
running. (yan / jpnn)




                                         5;
https://www.merdeka.com


Takut pulang ke Indonesia, WNI
korban kerusuhan Mei 1998 di AS
terancam dideportasi




pengunjuk rasa dukung para imigran tetap tinggal di AS. ©Reuters

Rabu, 18 Oktober 2017 13:09
Reporter : Fellyanda Suci Agiesta

Merdeka.com - Meldy dan Eva Lumangkun membangun rumah tangga mereka
di Amerika Serikat. Sejak meninggalkan Indonesia dua dekade lalu karena
kerusuhan Mei 1998, mereka membesarkan empat anak di Manchester, Negara
Bagian New Hampshire. Status mereka sebagai warga negara ilegal cukup lama
ditoleransi imigrasi AS.

Tapi ketika mereka mendatangi kantor Badan Imigrasi dan Bea Cukai AS (ICE)
di Manchester Agustus lalu untuk pendataan rutin, mereka diminta membeli tiket
pulang ke Tanah Air dan keluar dari AS dalam waktu dua bulan.

"Kami takut pulang ke Indonesia. Kami takut akan keselamatan anak-anak. Di
sini anak-anak kami bisa hidup dengan aman," kata Meldy Lumangkun dalam
pertemuan dengan pejabat ICE bulan ini di Manchester, seperti dilansir
kantor beritaReuters, Senin (16/10).

Meldy adalah salah satu dari sekitar 2.000 warga Kristen etnis Tionghoa yang



                                                  61
meninggalkan Indonesia menuju New Hampshire karena menghindari kerusuhan
Mei 1998. Mereka tinggal di Amerika dengan status imigran ilegal dan di bawah
pemerintahan Presiden Donald Trump, kini mereka terancam dideportasi.

Keluarga Lumangkuns dan warga Kristen Indonesia lainnya di New Hampshire
mengaku mereka takut menghadapi diskriminasi agama dan kekerasan jika
kembali ke Indonesia.

Kebanyakan WNI yang terancam dideportasi tinggal di AS dengan visa turis dan
memperpanjang terus visa itu. Mereka kemudian gagal mengajukan suaka
dalam jangka waktu setahun sejak masuk AS. Peraturan ini banyak tidak
diketahui para imigran.

Berdasarkan ketentuan kesepakatan hasil negosiasi atas bantuan Senator AS
jeanne Shaheen, para imigran dibolehkan tetap tinggal di AS jika mereka
menyerahkan paspor dan rutin melakukan pendataan di ICE.

"Perintah eksekutif yang ditandatangani Presiden Trump pada Januari
mengubah segalanya," kata juru bicara ICE Shawn Neudauer.

Di AS para imigran asal Indonesia telah memiliki pekerjaan di pabrik-pabrik kecil
dan keluarga angkat, serta menikmati kehidupan di negara yang tenang dan
alam pedesaan. Beberapa di antara mereka menjadi pendeta di gereja.

"Mereka mengisi pekerjaan yang penting. Mengganti mereka tidaklah mudah,"
kata Shaheen.

Surat kabar lokal Foster Daily Democrat mengecam langkah mendeportasi para
imigran di New Hampshire dalam sebuah tulisan tajuk rencana bulan Agustus.

"Warga negara tetangga yang telah bekerja keras dan mengikuti peraturan
seharusnya tidak diusir dari negara ini. Warga yang tidak melakukan kejahatan
seharusnya tidak tiba-tiba ditahan oleh ICE," tulis editorial surat kabar tersebut.

Berdasarkan kesepakatan tahun 2012 dengan otoritas imigrasi, sekitar 69 orang
Indonesia yang tinggal di New Hampshire diizinkan untuk tetap tinggal.
Sebanyak 45 warga Kristen Indonesia yang tinggal di
New Jersey kini juga terancam dideportasi.

"Ini sama sekali tidak sesuai dengan nilai-nilai Amerika. Ini adalah negara yang
lahir dari orang-orang yang melarikan diri dari persekusi agama," kata
Shaheen. [pan]
dddddddd$

Doddy Noegroho ·
Site manager at Event Organiser & Wedding planner



                                         62
Para pecundang yg harus dimusnahkan sekalian kali nih

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Kembalilah hai wni yg durhaka ke indonesia.. ora opo2 sampeyan
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Dini Afda Dinata ·
Jakarta, Indonesia
Jadi ceritanya etnis tionghoa... yg melarikan diri ke AS... klw takut ke Indonesia, ya
pulang aja ke negeri nenek moyang anda. Atau ganti kewarganwgaraan aja, gitu aja kok
REPOT...
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Hari Anggara
Jangan pulaang lagi kesini ...udah sempit tau...bikin sumpek aja lo
Like · Reply · 11w

Muhammad Rukmansah ·
Jakarta, Indonesia
pulanginnya ketionghoa aja
Like · Reply · 11w




                                            63
Marinus Mendrofa
takut bernasib seperti johanes harlem
Like · Reply · 11w




https://www.merdeka.com
Afraid to return to Indonesia,
Indonesian citizens of the riots in May
1998 in the US threatened deportation
Wednesday, October 18, 2017 13:09Reporter: Sacred Fellyanda Agiesta




Protesters supporting immigrants remain in the United States. © Reuters

Merdeka.com - Meldy and Eva Lumangkun build their homes in the United
States. Since leaving Indonesia two decades ago due to May 1998 riots, they
raised four children in Manchester, New Hampshire State. Their status as illegal
citizens is long tolerated by US immigration.

But when they went to the US Department of Immigration and Customs (ICE)



                                           64
office in Manchester last August for a routine record, they were asked to buy a
ticket home and leave the United States within two months.

"We are afraid to go home to Indonesia, we are afraid of the children's safety
here, our children can live safely," Meldy Lumangkun said in a meeting with ICE
officials this month in Manchester, as quoted by Reuters news agency on
Monday (16 / 10).

Meldy is one of about 2,000 ethnic Chinese Christians who left Indonesia for New
Hampshire for avoiding the May 1998 riots. They live in America with illegal
immigrant status and under the administration of President Donald Trump, they
are now threatened to be deported.

The Lumangkuns family and other Indonesian Christians in New Hampshire
claim they are afraid of religious discrimination and violence if they return to
Indonesia.

Most citizens who are threatened to be deported live in the US on tourist visas
and extend the visa. They then failed to apply for asylum within a year of entering
the US. This rule is largely unknown to immigrants.

Under the terms of the negotiated agreement on the help of US Senator jeanne
Shaheen, immigrants are allowed to remain in the US if they submit passports
and regularly collect data on ICE.

"The executive order signed by President Trump in January changed everything,"
ICE spokeswoman Shawn Neudauer said.

In the US immigrants from Indonesia have had jobs in small factories and foster
families, as well as enjoying life in a country of calm and rural nature. Some of
them became pastors in the church.

"They are filling important jobs and replacing them is not easy," Shaheen said.

The local newspaper Foster Daily Democrat condemned the deportation of
immigrants in New Hampshire in an August edition.

"Neighbors who have worked hard and following the rules should not be expelled
from this country," said the newspaper editorial. "People who do not commit
crimes should not suddenly be arrested by ICE."

Under a 2012 agreement with immigration authorities, some 69 Indonesians
living in New Hampshire are allowed to stay. As many as 45 Indonesian
Christians living in
New Jersey are now threatened to be deported.




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"This is totally incompatible with American values, it is a country born to people
who fled religious persecution," Shaheen said. [pan]

_________

Doddy Noegroho ·
Site manager at Event Organiser & Wedding planner
Para pecundang yg harus dimusnahkan sekalian kali nih
$ Translation: These losers should, perhaps, be killed at once.

Hadi Putra ·
Works at PT. Pertamina LPG & Gas Product Region III
Kembalilah hai wni yg durhaka ke indonesia.. ora opo2 sampeyan
Like · Reply · 1 · 10w
$ Translation: Just come home, the ungrateful Indonesian people; you are fine.

Dini Afda Dinata ·
Jakarta, Indonesia
Jadi ceritanya etnis tionghoa... yg melarikan diri ke AS... klw takut ke Indonesia, ya
pulang aja ke negeri nenek moyang anda. Atau ganti kewarganwgaraan aja, gitu aja kok
REPOT...
Like · Reply · 2 · 11w
$ Translation: So, is this about the Chinese Indonesians who fled to the USA? If you are
afraid to return to Indonesia, please go back to the land of your ancestors. Or just change
your citizenship. That’s not a big deal.

Bucal Bcl ·
Chief at Pertamina Drilling Service Indonesia
Neh namanya pulang malu tak pulang tak tau malu..
Like · Reply · 1 · 11w
$ Translation: Well, it means they are ashamed to return home, but they know no shame
for staying.

Cybill Lee Goenardi ·
Works at Self-Employed
jgn pada ngelucu lo yg komentar! negara rusuh lo tutup mata! pelanggaran ham lo pada
diem ya asu? ada org baek jd gubernur juga lo jatuhin, koruptor lo bela! elo pada suka
ngeluh dan pada komplain, pada busuk semua hatinya! antek setan! pantesan negara gak
maju2
Like · Reply · 3 · 11w
$ Translation: Do not joke on this! You closed your eyes when this country was in
turmoil! You said nothing when it comes to human rights violations. You even destroyed
the life of a good governor and you defended the corruptors. You complained a lot and
your hearts are wrong! You are the Satan’s followers! No wonder this country has never
gotten better.
(A comment from an Asylum seekers’ supporter in Indonesia)




                                            66
Adi Rachmadi ·
University of Indonesia
Jgn pulang ke indonesia cari negara lain aja mudah2an pemerintah menolak
kepulangannya
Like · Reply · 1 · 11w
$ Translation: Do not return to Indonesia; just go look for another country. I hope our
government will not welcome them back.

Ade Firman Syah ·
HR Officer at Turi Beach Resort
Alasannya thai kucheng..
Like · Reply · 11w
$ Translation: His excuses; cat shit...

Hari Anggara
Jangan pulaang lagi kesini ...udah sempit tau...bikin sumpek aja lo
Like · Reply · 11w
$ Translation: Do not come back here; it’s already crowded here; you will make this
country even more crowded.

Muhammad Rukmansah ·
Jakarta, Indonesia
pulanginnya ketionghoa aja
Like · Reply · 11w
$ Translation: Return them to China.

Marinus Mendrofa
takut bernasib seperti johanes harlem
Like · Reply · 11w
$ Translation: They are afraid they would end up like Johanes Harlem (Marliem)*

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* See News Article below.




https://www.reuters.com/article/us-indonesia-corruption-witness




                                            67
      https://tirto.id/

      Pemerintah Bantu WNI yang akan
      Dideportasi dari AS




      Para aktivis membawa poster dalam protes terhadap Presiden Amerika Serikat Donald Trump di luar
      Trump Tower di Manhattan, New York, Amerika Serikat, Selasa (15/8). ANTARA FOTO/REUTERS/Amr
      Alfiky

      Reporter: Andrian Pratama Taher
      19 Oktober, 2017

"   Pemerintah masih akan tetap membantu meski mereka tak mau lagi tinggal di Indonesia

      Sekitar 2.000 warga negara asing, termasuk dari Indonesia akan terkena dampak
      kebijakan Presiden Donald Trump.
      tirto.id - Sejumlah WNI di Amerika Serikat akan dideportasi. Mereka merupakan bagian
      dari 2.000 warga negara asing yang akan dideportasi oleh Amerika Serikat.

      "Dari pantauan yang ada, memang akan ada deportasi dalam jumlah besar. Ribuan. Tapi
      bukan orang Indonesia semua," kata Kabag Humas Ditjen Imigrasi, Agung Sampurno
      saat dihubungi Tirto, Rabu (18/10/2017).

      Menurut Agung, mereka yang akan dideportasi adalah warga negara asing (WNA) yang
      tidak mendapat status pengungsi (refugee). Khusus Indonesia, mereka yang akan
      dikembalikan adalah WNI keturunan Tionghoa yang pergi ke AS dalam rangka
      menyelamatkan diri ketika terjadi kerusuhan Mei 1998.

      Menurut laporan Reuters, WNI ini awalnya masuk ke AS secara legal menggunakan visa



                                                    68
turis. Namun kemudian mereka tinggal di Negeri Paman Sam itu melebihi batas waktu
yang ditetapkan. Sebetulnya mereka ini bisa mendapat status tinggal legal di AS
sepanjang mau menyerahkan paspor dan datang melapor secara reguler ke ICE, Kantor
Imigrasi AS.

Namun karena ada perintah eksekutif dari Trump tanggal 25 Januari 2017, aturan ini
direvisi sampai kemudian mereka terancam dipulangkan. "Perintah eksekutif Presiden
Trump yang diteken pada Januari lalu mengubah segalanya," kata Shawn Neudauer,
humas ICE.

Agung mengatakan, pemberian status pengungsi adalah otoritas penuh dari pemerintahan
suatu negara. Hukum umumnya, apabila ada warga asing yang sudah dua kali
mengajukan diri sebagai pengungsi dan ditolak, mereka dikenakan final rejection, yakni
pernyataan bahwa mereka tidak bisa lagi menjadi pengungsi, dan dengan demikian harus
pergi.

Lalu M. Iqbal, Juru Bicara Kemenlu, mengatakan bahwa pihaknya terus memonitor
rencana pemulangan WNI ini. Sepengetahuan Kemenlu, WNI tersebut memang sudah
tidak mau tinggal di Indonesia karena khawatir akan dipersekusi. Para WNI itu
dikabarkan tengah menggugat keputusan pemerintah AS.

"Informasi terakhir yang kami peroleh, mereka sudah melakukan upaya hukum. Untuk itu
hakim mengeluarkan putusan sela yang meminta imigrasi menunda deportasi sembari
mempelajari apakah kasus ini ada di bawah jurisdiksi mereka atau tidak," kata Iqbal
kepada Tirto.

Iqbal mengoreksi jumlah WNI yang rencana akan dipulangkan dari New Hampshire yang
terkena kebijakan Trump, dari yang sebelumnya dilaporkan mencapai ribuan. "Jumlahnya
di New Hampshire hanya puluhan. infonya sekitar 70 orang," kata Iqbal.

Menurut laporan ICE, berdasarkan data imigrasi tahun 2012, ada 69 WNI yang tinggal di
New Hampshire. Ada pula yang tinggal di New Jersey sebanyak 45 orang.

Iqbal menjelaskan, WNI yang terancam dideportasi itu adalah mereka yang menetap
tanpa izin tinggal (undocumented) dan mereka yang meminta suaka karena tidak mau lagi
kembali tetapi permohonannya ditolak pengadilan.

Meski mereka sudah tidak mau lagi tinggal di Indonesia, akan tetapi pemerintah tetap
berupaya agar hak-hak WNI ini terpenuhi. Untuk itu, Kemenlu
membuka hotline pengaduan di tiap perwakilan negara. Kemenlu juga terus melakukan
sosialisasi dan memberikan bantuan hukum. Namun, permasalahan kewarganegaraan
tetap saja otoritas penuh dari negara yang bersangkutan.

"Kalau keputusan mengizinkan orang asing tinggal atau tidak di suatu negara sepenuhnya
keputusan berdaulat negara tersebut," kata Iqbal.




                                          69
Meski kebijakan Trump sangat keras, namun tetap ada harapan, terutama bagi mereka
yang tinggal di New Jersey. New Jersey Herald melaporkan bahwa kandidat Gubernur
New Jersey dari Green Party, Pendeta Seth Kapel-Dale, menawarkan perlindungan
kepada WNI ini di Gereja Reformed Highland Park.

Gereja ini pernah menjadi tempat penampungan sembilan imigran Indonesia pada 2012.
Selain perlindungan, mereka juga diberikan bantuan hukum.

"Saya telah melakukan ini sejak tahun 2002. Saya telah berjuang keras bagi para imigran
ini," kata Kaper-Dale.

Dalam kampanyenya, Kaper-Dale memang berjanji akan menjadikan New Jersey sebagai
Negara Bagian yang ramah suaka. Ia berjanji akan mengeluarkan jaminan, termasuk hak
kesehatan, bagi imigran tanpa peduli status mereka.

Kebijakan deportasi besar-besaran sebetulnya tidak hanya dilakukan AS. Kebijakan ini
juga sempat diterapkan pemerintah Indonesia pada tahun 1950an. Kala itu, pemerintah
mendeportasi ribuan orang Tiongkok yang tidak mempunyai surat keterangan bukti
kewarganegaraan.

Sampai saat ini, ada 14.052 WNA di Indonesia yang mengalami nasib serupa seperti
kisah WNI di AS.

Baca juga artikel terkait IMIGRAN atau tulisan menarik lainnya Rio Apinino
(tirto.id - rio/nqm)




https://tirto.id/


Government Helping Indonesian
Citizens to be Deported from the US




                                           6;
                                                                                   The activists carried
      posters in protest against US President Donald Trump outside Trump Tower in Manhattan, New York,
      United States, Tuesday (15/8). BETWEEN PHOTOS / REUTERS / Amr Alfiky

      Reporter: Andrian Pratama Taher
      October 19, 2017

"   The government will still help even though they do not want to live in Indonesia anymore

      About 2,000 foreign nationals, including from Indonesia, will be affected by President Donald Trump's
      policies.
      tirto.id - A number of Indonesians in the United States will be deported. They are part of 2,000 foreign
      nationals to be deported by the United States.

      "From the existing monitoring, there will be a large number of deportations, thousands of them, but not all
      Indonesians," said the Head of Public Relations of the Directorate General of Immigration, Agung
      Sampurno when contacted by Tirto, Wednesday (18/10/2017).

      According to Agung, those who will be deported are foreign citizens (WNA) who do not get refugee status
      ( refugee ). Especially for Indonesia, those who will be returned are Indonesian citizens of Chinese descent
      who went to the US in order to save themselves during the May 1998 riots.

      According to Reuters reports, this citizen originally entered the US legally using a tourist visa. But then
      they live in Uncle Sam's country beyond the set time limit. Actually they can get legal residence status in
      the US as long as they are willing to submit passports and come to report regularly to ICE, US Immigration
      Office.

      However, due to an executive order from Trump dated January 25, 2017, this rule was revised until later
      they were threatened to be repatriated. "President Trump's executive order signed in January changed
      everything," said Shawn Neudauer, ICE publicist.

      Agung said the grant of refugee status is the full authority of the government of a country. The common
      law, if there are foreigners who have twice filed for refugees and are rejected, they are subject to a final
      rejection, ie a statement that they can no longer be refugees, and thus have to leave.

      Then M. Iqbal, a spokesman for the Ministry of Foreign Affairs, said that his side continues to monitor the
      plan to repatriate this citizen. As far as Kemenlu, the Indonesian citizen does not want to stay in Indonesia



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for fear of being executed. The WNI was reportedly suing the US government decision.

"The last information we have obtained is that they have taken legal action, so the judge issued an interim
order requesting immigration to postpone deportation while studying whether the case is under their
jurisdiction or not," Iqbal told Tirto.

Iqbal corrected the number of citizens whose plans would be repatriated from New Hampshire affected by
Trump's policy, from what was previously reported to be thousands. "The number in New Hampshire is
only tens, with about 70 people," Iqbal said.

According to the ICE report, based on immigration data for 2012, there are 69 Indonesians living in New
Hampshire. There are also living in New Jersey as many as 45 people.

Iqbal explained that citizens who are threatened to be deported are those who stay without
an undocumented and those who ask for asylum because they no longer want to return but the petition is
rejected by the court.

Although they no longer want to live in Indonesia, but the government still strives for the rights of
Indonesian citizens are met. To that end, the Ministry of Foreign Affairs opened a complaint hotline in each
country representative. Kemenlu also continued to socialize and provide legal assistance. However, the
issue of citizenship remains the full authority of the country concerned.

"If the decision allows foreigners to live or not in a country fully the sovereign decision of the country,"
said Iqbal.

Although Trump's policy is very tough, there is hope, especially for those living in New Jersey. The New
Jersey Herald reports that the New Jersey Governor of Green Party candidate, Seth Chapel-Dale, offers
protection to this citizen at the Reformed Highland Park Church.

This church was once the shelter of nine Indonesian immigrants in 2012. In addition to protection, they are
also given legal assistance.

"I've been doing this since 2002. I've fought hard for these immigrants," Kaper-Dale said.

In his campaign, Kaper-Dale did promise to make New Jersey a friendly, asylum State. He promised to
issue guarantees, including the right to health, for immigrants regardless of their status.

Large-scale deportation policy is not only done by the US. This policy was also applied by the Indonesian
government in the 1950s. At that time, the government deported thousands of Chinese who did not have
proof of citizenship.

To date, there are 14,052 foreigners in Indonesia who suffer the same fate as the story of Indonesian
citizens in the US.

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Ribuan WNI Korban Kerusuhan 1998 Terancam Dideportasi dari AS
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Demonstrasi mendukung imigran WNI di AS. (Foto: REUTERS/Brian Snyder/File Photo)

Sekitar 2.000 Warga Negara Indonesia tengah menghadapi ancaman deportasi setelah hampir
20 tahun tinggal di Amerika Serikat. Komunitas WNI tersebut telah melakukan segala upaya
untuk membatalkan lewat proses litigasi setelah menjalani kampanye penolakan deportasi.

Dikutip Reuters, 2.000 WNI yang ada di AS termasuk ke dalam ribuan orang yang dianggap
imigran ilegal. Berdasarkan keputusan Presiden Donald Trump yang akan menindak tegas para
imigran tanpa pandang bulu maka mereka diwajibkan untuk angkat koper dari Negeri Paman
Sam. Padahal, pemerintahan sebelumnya masih memberlakukan kebijakan imigrasi yang legal
dengan mentolerir keberadaan mereka. Sontak kebijakan ini meresahkan WNI yang telah tinggal
dengan nyaman di AS.

Salah satu yang dirugikan adalah keluarga Meldy Lumangkan. Ia dan istrinya Eva, telah memiliki
kehidupan yang tenang dengan empat orang anak di negara bagian New Hampshire. Ia berhasil
beranjak dari memori diskriminasi dan kekerasan rasial selama peristiwa 1998.
"Kami takut pulang ke rumah. Kami takut akan keamanan anak-anak kami," ucap Meldy
Lumangkun.

New Hampshire menjadi salah satu tujuan para imigran ini. Saat itu, mereka datang ke AS
dengan menggunakan visa turis lalu tinggal melebihi jangka waktu 1 tahun. Pemerintah AS
akhirnya tidak mempermasalahkan status ilegal mereka. Para WNI hanya diwajibkan melapor
secara rutin ke kantor Immigration and Customs Enforcement (ICE).

Namun segalanya berubah ketika mereka datang ke kantor ICE di bulan Agustus tahun ini.
Perintah eksekutif Presiden Trump yang diteken bulan Januari mengubah segalanya. Juru bicara
ICE berujar bahwa mereka tidak lagi bisa melakukan apapun. "Perintah eksekutif yang
ditandatangani Presiden Trump mengubah segalanya," ucap Juru Bicara ICE Shawn Neudauer.

Konflik rasial pada saat itu meninggalkan bekas trauma yang cukup dalam bagi imigran warga
Tionghoa Kristen, Jacklyn Lele, yang terbang ke AS tahun 2006 setelah saudaranya tewas
dibunuh pada tahun 1998. "Ini sangat menekan," ucap Jacklyn. "Anak saya benar-benar tidak
ingin pergi ke sana, ia tetap berkata bahwa 'Saya orang Amerika'" ucap Jacklyn.

Suara para imigran mendapat dukungan dari publik New Hampshire. Pada Jumat 13 Oktober
2017, ratusan demonstran turun ke jalan untuk memberi dukungan moral kepada para imigran.
Politisi Demokrat. Shaheen, berujar bahwa para imigran ini telah hidup tenang di New
Hampshire. "Mereka telah melakukan kontribusi yang begitu penting. Memindahkan mereka akan
menjadi sesuatu yang sulit," ucap Shaheen.
Trump sejauh ini masih kukuh dengan kebijakan pengetatan imigrasinya yang kolot. Atas nama
keamanan, AS menerapkan pemantauan ketat terhadap para imigran seperti kasus Muslim Ban
yang menimpa warga dari negara-negara Islam.




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Read more at https://kumparan.com/@kumparannews/kbri-washington-sudah-ada-deportasi-korban-kerusuhan-98-
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Thousands of Citizens Victims of 1998 Riots Threatened
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Saturday 21 October 2017 - 09:36

Demonstrations support WNI immigrants in the US. (Photo: REUTERS / Brian Snyder / File Photo)

About 2,000 Indonesians are facing deportation threat after nearly 20 years of living in
the United States. The WNI community has made every effort to cancel the litigation
process after undergoing a deportation denial campaign.

Quoted Reuters, 2,000 citizens in the US are among thousands of people considered
illegal immigrants. Based on the decision of President Donald Trump who will crack
down on immigrants indiscriminately then they are required to lift the suitcase from
Uncle Sam's country. In fact, the previous government still impose a legal immigration
policy by tolerating their existence. Suddenly this policy disturbs citizens who have lived
comfortably in the US.

One of the disadvantaged is the Meldy Lumangkan family. He and his wife Eva, have
had a quiet life with four children in the state of New Hampshire. He managed to get
away from the memory of racial discrimination and violence during the 1998 incident.
"We are afraid to go home, we fear the security of our children," said Meldy Lumangkun.

New Hampshire became one of the goals of these immigrants. At that time, they came to
the US using tourist visas and then stay longer than 1 year. The US government
ultimately does not question their illegal status. The citizens are only required to report
regularly to the office of Immigration and Customs Enforcement (ICE).

But everything changed when they came to the ICE office in August this year. President
Trump's executive order signed in January changed everything. ICE spokesmen say they




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can no longer do anything. "The executive order signed by President Trump changed
everything," said ICE spokesperson Shawn Neudauer.

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Clash, 1998. (Photo: Doctor Muhammad Firman Hidayatullah)

The racial conflict at the time left a deep trauma for Christian immigrants Jacklyn Lele,
who flew to the United States in 2006 after his brother was killed in 1998. "It's very
stressful," Jacklyn said. "My son really did not want to go there, he kept saying that 'I am
an American'" Jacklyn said.

The voices of immigrants have the support of the New Hampshire public. On Friday,
October 13, 2017, hundreds of demonstrators took to the streets to provide moral support
to immigrants. Democratic politicians. Shaheen, said that these immigrants have lived
peacefully in New Hampshire. "They have made such an important contribution, moving
them will be difficult," Shaheen said.

Trump has so far been adamant with its old-fashioned immigration policy. In the name of
security, the United States implements rigorous monitoring of immigrants such as the
Ban Muslim case that afflicts citizens from Islamic countries.

Read more at https://kumparan.com/@kumparannews/kbri-washington-sudah-ada-deportasi-korban-
kerusuhan-98-sebelum-trump#w1qXbyi1jRfUVH4t.99




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jvvru<00yyy/xqckpfqpgukc/eqo!

58!Yctic!Kpfqpgukc!fk!Pgy!Jcorujktg-!CU!Jcfcrk!
Cpecocp!Fgrqtvcuk!

Jcmko!fkuvtkm!Dquvqp-!Rcvvk!Uctku!jctk!Lwocv!)31021*!rwukpi!
ogokmktmcp!dgtcrc!ncoc!ncik!kc!fcrcv!ogpwpfc!rwvwucp!rgogtkpvcjcp!
Vtwor!wpvwm!ogpfgrqtvcuk!58!Mtkuvkcpk!yctic!Kpfqpgukc!{cpi!
ogp{gncocvmcp!fktk!fctk!mgmgtcucp!fk!Kpfqpgukc!31!vcjwp!ncnw!fcp!
vkpiicn!fk!pgictc!dcikcp!Pgy!Jcorujktg!dgtfcuct!rgtlcplkcp!vkfcm!
tguok!fgpicp!rkjcm!kokitcuk/!


Ogtgmc!uwfcj!ncoc!fkdqngjmcp!ogplcncpk!jkfwr!dkcuc!fcp!vgtdwmc!fk!
ucpc!fgpicp!mgvgpvwcp!jctwu!ogp{gtcjmcp!rcurqt!fcp!vgvcr!ogncrqt!
rcfc!lcycvcp!kokitcuk!)KEG*/!


Mgvgpvwcp!kvw!dgtwdcj!uglcm!Rtgukfgp!Vtwor!ogowvwumcp!ogpecdwv!
ugowc!rgpigewcnkcp!{cpi!fkmgnwctmcp!KEG/!Lcfk!ogtgmc!ugmctcpi!
ogpijcfcrk!ukvwcuk!jctwu!rwncpi!mg!Kpfqpgukc-!fk!ocpc!ogtgmc!vcmwv!
cmcp!fkumtkokpcuk!fcp!mgmgtcucp/!


Uglcm!Ciwuvwu!cpiiqvc!mgnqorqm!{cpi!ogncrqt!fktk!mg!mcpvqt!kokitcuk!
fkdgtkvcjw!uwrc{c!dgtukcr.ukcr!wpvwm!ogpkpiicnmcp!Cogtkmc-!uguwck!
fgpicp!lcplk!mcorcp{g!Vtwor!cmcp!ogpfgrqtvcuk!lwvccp!rgpfcvcpi!
igncr/!]cn_!




jvvru<00yyy/xqckpfqpgukc/eqo!


58!Kpfqpgukcpu!kp!Pgy!Jcorujktg-!WUC!Hceg!Fgrqtvcvkqp!Vjtgcvu!!




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Dquvqp!Fkuvtkev!Lwfig!Rcvvk!Uctku!qp!Htkfc{!)31021*!ycu!fkuvtcevgf!qxgt!
jqy!nqpi!kv!eqwnf!fgnc{!vjg!Vtwor!iqxgtpogpv(u!fgekukqp!vq!fgrqtv!58!
Kpfqpgukcp!Ejtkuvkcpu!yjq!guecrgf!xkqngpeg!kp!Kpfqpgukc!31!{gctu!ciq!
cpf!nkxgf!kp!Pgy!Jcorujktg!uvcvg!dcugf!qp!c!pqp.!qhhkekcn!ykvj!
kookitcvkqp!cwvjqtkvkgu/!!

Vjg{!jcxg!nqpi!dggp!cnnqygf!vq!nkxg!c!pqtocn!cpf!qrgp!nkhg!vjgtg!ykvj!
vjg!rtqxkukqp!qh!jcxkpi!vq!uwdokv!c!rcuurqtv!cpf!mggr!tgrqtvkpi!vq!vjg!
kookitcvkqp!dwtgcw!)KEG*/!!

Vjg!rtqxkukqp!jcu!ejcpigf!ukpeg!Rtgukfgpv!Vtwor!fgekfgf!vq!tgxqmg!cnn!
gzegrvkqpu!kuuwgf!d{!KEG/!Uq!vjg{!pqy!hceg!vjg!ukvwcvkqp!qh!jcxkpi!vq!iq!
dcem!vq!Kpfqpgukc-!yjgtg!vjg{!ctg!chtckf!qh!fkuetkokpcvkqp!cpf!xkqngpeg/!!

Ukpeg!Cwiwuv!ogodgtu!qh!vjg!itqwr!tgrqtvkpi!vjgougnxgu!vq!vjg!
kookitcvkqp!qhhkeg!jcxg!dggp!vqnf!vq!dg!rtgrctgf!vq!ngcxg!vjg!Wpkvgf!
Uvcvgu-!cu!rtqokugf!d{!Vtwor(u!ecorckip!vq!fgrqtv!oknnkqpu!qh!knngicn!
kookitcpvu/!]cn_!




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Sabtu, 21 Oktober 2017 07:23:09 WIB
Mtkokpqnqik/kf!.!Jcmko!Cogtkmc!Ugtkmcv-!Lwocv-!31!Qmvqdgt!3128-!vgpicj!
ogorgtvkodcpimcp!dgtcrc!ncoc!kc!fcrcv!ogpwpfc!ncpimcj!rgogtkpvcjcp!
Rtgukfgp!Fqpcnf!Vtwor!wpvwm!ogpfgrqtvcuk!58!yctic!Kpfqpgukc/!

Mg.58!kokitcp!kvw!ugdcick!qtcpi!Mtkuvgp!Kpfqpgukc!{cpi!ogpiwpiukmcp!fktk!fctk!
mgmgtcucp!ocwv!fk!Kpfqpgukc!dgncucp!vcjwp!{cpi!ncnw!fcp!vgncj!vkpiicn!ugectc!
kngicn!fk!Pgy!Jcorujktg!fk!dcycj!mgugrcmcvcp!kphqtocn!fgpicp!rglcdcv!kokitcuk!
Cogtkmc/!

Mgnqorqm!yctic!Kpfqpgukc!kvw-!ugrgtvk!{cpi!fkmwvkr!fctk!Cpvctc-!ugmkcp!ncoc!
fkrgtdqngjmcp!vkpiicn!fk!pgictc!dcikcp!Pgy!Jcorujktg!dgtfcuctmcp!rgpicvwtcp!
rkjcm!dgtygpcpi!mgkokitcukcp!Cogtkmc-!Kookitcvkqp!cpf!Ewuvqou!Gphqtegogpv!
cvcw!KEG/!

Ogpwtwv!mgugrcmcvcp!kphqtocn!fk!cpvctc!mgfwc!rkjcm-!KEG!ogyclkdmcp!
ugmgnqorqm!yctic!Kpfqpgukc!kvw!ogp{gtcjmcp!rcurqt!ogtgmc!fcp!ugectc!
dgtmcnc!ogncrqtmcp!fktk!mgrcfc!KEG/!

Pcowp-!rgpicvwtcp!kvw!dgtwdcj!ugvgncj!Rtgukfgp!Vtwor!ogogtkpvcjmcp!cict!
KEG!ogpicmjktk!rgpigewcnkcp!vgtugdwv/!Fgpicp!fgokmkcp-!ugmgnqorqm!yctic!
Kpfqpgukc!kvw!uccv!kpk!jctwu!mgodcnk!mg!pgictc-!{cpi!fkugdwv!#vgorcv!ogtgmc!
ogtcuc!mgvcmwvcp!vgtjcfcr!fkumtkokpcuk!fcp!mgmgtcucp#/!

Jcmko!vgtugdwv-!Mgrcnc!Jcmko!Fkuvtkm!CU!Rcvvk!Uctku-!fcnco!rgtukfcpicp!
rgpicfkncp!hgfgtcn!fk!Dquvqp!ogp{cvcmcp!jgtcp!mctgpc!ogpicrc!jcp{c!ucvw!fctk!
rctc!kokitcp!kvw!{cpi!ogoknkmk!ecvcvcp!vgtvwnku!uqcn!mgugrcmcvcp!fgpicp!KEG/!

Kc!ogpicvcmcp!fktkp{c!cmcp!ogorgtvkodcpimcp!crcmcj!kc!ogoknkmk!ygygpcpi!
wpvwm!ogodgtk!rgnwcpi!vgtcmjkt!dcik!rctc!kokitcp!kvw!wpvwm!ogorgtfgdcvmcp!
rgpfgtrqtvcukcp/!




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#Kpk!cuwu!{cpi!uwnkv-#!mcvc!Uctku/!#Ogtgmc!kpk!qtcpi.qtcpi!dckm!fcp!ucpvwp-!{cpi!
uwfcj!vkpiicn!fk!ukpk!fgpicp!tguvw!mkvc!fcp!ogpfcrcv!k|kp!mgtlc!ugtvc!vkfcm!
rgtpcj!ogncpiict!jctcrcp!mkvc!vgtjcfcr!ogtgmc/#!

Ownck!Ciwuvwu!3128-!ugmgnqorqm!yctic!Kpfqpgukc!kvw!{cpi!ogpfcvcpik!mcpvqt!
KEG!wpvwm!ogncrqtmcp!fktk-!fkokpvc!wpvwm!dgtukcr.ukcr!mgnwct!fctk!CU!vgtmckv!
fgpicp!lcplk!mcorcp{g!Vtwor!wpvwm!ogpfgrqtvcuk!lwvccp!kokitcp!kngicn/!

Rctc!rgodgnc!dwncp!ncnw!ogpwpvwv!KEG!wpvwm!dgtjgpvk!ogncmwmcp!fgrqtvcuk!fcp!
Uctku!vgncj!ogogtkpvcjmcp!cict!rgpfgrqtvcukcp!fkjgpvkmcp!ugogpvctc!kc!
ogocuvkmcp!crcmcj!fktkp{c!ogoknkmk!ygygpcpi!ogpcpicpk!mcuwu!vgtugdwv/!

Ocucncj!kokitcuk!CU!dkcucp{c!fkvcpicpk!qngj!rgogicpi!mgmwcuccp!gmugmwvkh/!

Ucvw.ucvwp{c!ucmuk!ocvc!{cpi!jcfkt!rcfc!rgtukfcpicp!Lwocv-!Vkoqvj{!Uvgxgpu-!
rgvwicu!rgpicycucp!fgrqtvcuk!KEG/!Uvgxgp!ogpicvcmcp!mgnqorqm!yctic!
Kpfqpgukc!kvw!vgncj!fkk|kpmcp!vkpiicn!fk!CU!ugvgncj!ogtgmc!ogpikmwvk!rtqitco!
#Qrgtcvkqp!Kpfqpgukcp!Uwttgpfgt#!vcjwp!3121/!

Rcfc!rwpecmp{c-!rtqitco!kvw!fkkmwvk!qngj!jcorkt!211!qtcpi-!mgpfcvk!Uvgxgp!
ogorgtmktcmcp!dcjyc!yctic!Kpfqpgukc!{cpi!ocukj!vkpiicn!fk!CU!fk!dcycj!
rtqitco!kvw!uccv!kpk!dgtlwoncj!81!qtcpi/!

Uvgxgp!ogpicvcmcp!rgvwicu!KEG!cmcp!ugncnw!ogoknkmk!ygygpcpi!wpvwm!
ogpfgrqtvcuk!mgnqorqm!yctic!Kpfqpgukc!vgtugdwv/!Ucncj!ucvw!fctk!yctic!
Kpfqpgukc-!Vgtt{!Jgnowvj!Tqodqv-!dgtcfc!fcnco!rgpcjcpcp!hgfgtcn!uglcm!kc!
owpewn!rcfc!Ciwuvwu!3128!wpvwm!ogncrqtmcp!fktk/!

Rctc!rgpicectc!ogp{gtcjmcp!uwtcv!fctk!KEG!mgrcfc!Vgtt{-!{cpi!kukp{c!
ogp{gdwvmcp!dcjyc!ugdcick!dcikcp!fctk!mgugrcmcvcp!vcjwp!3121-!kc!cmcp!
fkk|kpmcp!ogpkpiicnmcp!CU!ugectc!#vgtvkd#/!

#KEG!ogowvwumcp!dcjyc!ectc!rcnkpi!vgtvkd!dcikp{c!wpvwm!rgtik!cfcncj!fgpicp!
lcncp!dcjyc!mcok!ogp{kpimktmcpp{c!)ogpfgrqtvcuk*-#!mcvc!Uvgxgp/!

Uctku!ogorgtnkjcvmcp!rcpfcpicp!{cpi!vkfcm!lgncu!uqcn!ncpimcj!kvw/!

#Rgogtkpvcj!vgncj!ogpikpimctk!lcplk-#!mcvc!Uctku/!#Kvw!{cpi!uccv!kpk!
ogpimjcycvktmcp!uc{c/#!DE!




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Obey Trump, US Judge Consider Deportation
47 Indonesian Citizen
By: Eree|"Fkdqgud

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Mtkokpqnqik/kf!.!WU!lwfig-!Htkfc{-!Qevqdgt!31-!3128-!ku!eqpukfgtkpi!jqy!nqpi!jg!
ecp!fgnc{!vjg!iqxgtpogpv!qh!Rtgukfgpv!Fqpcnf!Vtwor!vq!fgrqtv!58!Kpfqpgukcp!
ekvk|gpu/!
Vjg!58!kookitcpvu!ygtg!Kpfqpgukcp!Ejtkuvkcpu!yjq!gxcewcvgf!htqo!fgcfn{!
xkqngpeg!kp!Kpfqpgukc!c!fq|gp!{gctu!ciq!cpf!jcxg!dggp!nkxkpi!knngicnn{!kp!Pgy!
Jcorujktg!wpfgt!cp!kphqtocn!citggogpv!ykvj!Cogtkecp!kookitcvkqp!qhhkekcnu/!

Vjg!itqwr!qh!ekvk|gpu!qh!Kpfqpgukc-!cu!swqvgf!htqo!Cpvctc!-!hqt!c!nqpi!vkog!
cnnqygf!vq!nkxg!kp!vjg!uvcvg!qh!Pgy!Jcorujktg!dcugf!qp!vjg!cttcpigogpv!qh!WU!
kookitcvkqp!cwvjqtkvkgu-!Kookitcvkqp!cpf!Ewuvqou!Gphqtegogpv!qt!KEG/!

Wpfgt!cp!kphqtocn!citggogpv!dgvyggp!vjg!vyq!rctvkgu-!KEG!tgswktgu!vjcv!c!itqwr!
qh!Kpfqpgukcp!ekvk|gpu!uwdokv!vjgkt!rcuurqtvu!cpf!rgtkqfkecnn{!tgrqtv!vq!KEG/!

Jqygxgt-!vjg!cttcpigogpv!ejcpigf!chvgt!Rtgukfgpv!Vtwor!qtfgtgf!vjcv!KEG!
vgtokpcvg!vjg!gzgorvkqp/!Vjwu-!c!itqwr!qh!Kpfqpgukcp!ekvk|gpu!pqy!owuv!tgvwtp!
vq!vjg!uvcvg-!ecnngf!#yjgtg!vjg{!hggn!hgct!qh!fkuetkokpcvkqp!cpf!xkqngpeg#/!

Vjg!lwfig-!WU!Fkuvtkev!Lwfig!Rcvvk!Uctku-!kp!c!hgfgtcn!eqwtv!vtkcn!kp!Dquvqp!
gzrtguugf!cuvqpkujogpv!cu!vq!yj{!qpn{!qpg!qh!vjg!kookitcpvu!jcf!c!ytkvvgp!
tgeqtf!qh!vjg!fgcn!ykvj!KEG/!

Jg!uckf!jg!yqwnf!eqpukfgt!yjgvjgt!jg!jcu!vjg!cwvjqtkv{!vq!ikxg!vjg!kookitcpvu!c!
ncuv!ejcpeg!vq!fgdcvg!vjg!rtqeguukqp/!

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jcf!qtfgtgf!vjcv!vjg!fgrqtvcvkqp!dg!uwurgpfgf!yjkng!jg!eqphktogf!yjgvjgt!jg!
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cnnqygf!vq!uvc{!kp!vjg!WU!chvgt!vjg{!lqkpgf!vjg!#Qrgtcvkqp!Kpfqpgukc!Uwttgpfgt#!
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http://www.indopostmanado.com/

Berita Utama, Manado, Nasional


Hakim AS Bebas Putra
Kawanua, Rombot:
Terima Kasih Pendeta dan
Teman-teman
Kamis, 2 November 2017 Dibaca : 135 kali




Terry Rombot
IPM– Imigran ilegal asal kawanua (Sulut) yang tinggal di New Hampshire
dibebaskan atas perintah Hakim Ketua Distrik Patti Saris, Amerika Serikat (AS).
Pembebasan terhadap WNI dilakukan karena terancam deportasi akibat kebijakan
Presiden Donald Trump dari tahanan badan Imigrasi dan Bea Cukai (ICE), Rabu
(1/11). Nah, salah satu dari 47 WNI itu adalah Terry Rombot yang penahanannya
dinyatakan Hakim Distrik Boston, tak bisa dilakukan lagi karena melanggar hak
asasi yang dilindungi konstitusi AS. “Biarkan dia berjalan keluar dari pengadilan
sekarang,” kata Saris seperti dikutip dari Reuters, Kamis (2/11) dini hari WIB.



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Rombot pun keluar dari pengadilan distrik Boston itu dengan masih mengenakan
baju tahanan tanpa sempat mengganti busana. Pengacara Rombot mengatakan pria
yang bermigrasi ke AS saat kerusuhan 1998 di Indonesia itu telah ditahan otoritas
ICE.
Di luar gedung pengadilan, Rombot merasa bahagia atas putusan tersebut. “Saya
ingin berterima kasih kepada pengacara saya, pastor saya, dan semua sahabat
saya.”
Sementara itu, kantor jaksa federal AS menyatakan rencana untuk banding atas
keputusan pengadilan distrik tersebut. Pejabat ICE mengatakan bahwa aturan
tersebut hanya sementara dan bahwa kantor mereka selalu punya kewenangan
untuk mendeportasi orang-orang yang berada di bawah aturan tersebut.
WNI di AS ini merupakan bagian dari sekitar 2.000 orang Indonesia yang
terkumpul di kota Dover, New Hampshire. Anggota komunitas tersebut dan
pendukungnya menyatakan bahwa mereka takut akan menghadapi diskriminasi
atau kekerasan jika dipaksa kembali ke Indonesia yang mayoritas muslim.
Mereka telah mendapat dukungan dari Gubernur dari Partai Republik, Chris
Sununu dan delegasi Kongres dari Partai Demokrat, termasuk Senator AS Jeanne
Shaheen.
Diketahui, Rombot dan WNI lainnya berstatus ilegal saat tiba di Negara Paman
Sam setelah kabur dari tragedi 1998 di Indonesia. Meski berstatus ilegal, puluhan
WNI itu diberi kesempatan untuk tinggal di Negeri Paman Sam berkat
kesepakatan tahun 2012 yang dinegosiasikan secara independen dengan kantor
imigrasi AS.
Melalui kesepakatan ini, sejumlah imigran ilegal di AS diberi penangguhan sanksi
keimigrasian dan izin tinggal dengan syarat penahanan paspor dan kewajiban
melapor rutin ke kantor ICE sesuai jadwal.
Namun, keadaan berubah ketika Presiden Donald Trump naik takhta pada Januari
lalu. Tak lama setelah dilantik, Trump langsung menandatangani perintah
eksekutif yang menghapuskan perjanjian pengecualian ICE tersebut.
Terhitung mulai Agustus, semua warga yang datang ke kantor ICE untuk
melakukan pelaporan rutin justru harus menerima kenyataan pahit.
Sebagian dari WNI dan juga pengacara mereka mengatakan ada ketakutan dari
para WNI itu bakal menghadapi diskriminasi jika kembali ke Indonesia.
Sebelumnya, Direktur Perlindungan Warga Negara Indonesia dan BHI
Kementerian Luar Negeri, Lalu Muhammad Iqbal, menjelaskan ada tiga jenis
WNI yang akan dideportasi. Pertama, mereka yang sedang mencari suaka dan
ditolak pengadilan.
“Mereka kebanyakan pencari suaka dari korban 98 (era reformasi), tapi ditolak
dari pengadilan. Yang jelas mereka harus meninggalkan Amerika Serikat,”
terangnya dalam jumpa pers tentang penanganan WNI di luar negeri yang
diselenggarakan di Sulut, Rabu (1/11).




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Kedua, mereka merupakan yang mencari suaka dan sudah mendapatkan hak suaka
di AS. Tapi saat suaka telah diberikan pemerintah AS, warga tersebut kembali ke
Indonesia, dengan berbagai alasan, salah satunya rindu terhadap keluarga.
“Sehingga otomatis ketika kembali ke Indonesia, suaka yang diberikan dari
Amerika Serikat pun batal,” terang Iqbal.
Ketiga, WNI yang menggunakan visa kunjungan. Namun bekerja di Amerika
Serikat, bahkan melebihi waktu tinggal. “Jadi otomatis mereka dianggap ilegal,”
jelas Iqbal.
Hingga sampai saat ini menurut Iqbal, para WNI yang rencananya akan
dideportasi masih menunggu putusan, setelah munculnya kebijakan dari Hakim
dari AS. “Jadi mereka berstatus belum dideportasi. Dan sekarang masih menunggu
putusan inkrah dari pengadilan,” jelasnya.
Sementara perwakilan Kemenlu di AS tengah berupaya, mencegah terjadinya
dideportasi. Seperti melakukan pendampingan upaya hukum yang masih
dilakukan, dalam rangka memastikan WNI dapat tinggal di AS.
“Tetapi kedutaan kita tidak menjamin bahwa mereka akan bisa tinggal di lahan
sana (AS). Karena itu adalah peradilan AS, jadi kita harus menghormatinya. Kami
juga telah menyiapkan lawyer (pengacara) yang stand by 24 jam di sana. Lawyer
digunakan untuk memperjuangkan hak-hak mereka di sana, bahkan juga
memperjuangkan dapat tinggal di AS lebih lama,” terang Iqbal.
Selain itu pihak Kemenlu melobi beberapa pihak dari tingkat presiden sampai
tingkat parlemen ke bawah, untuk mendapatkan perhatian dari pemerintah AS.
“Tujuannya agar dapat diberikan toleransi bagi warga kita yang di AS,”
pungkasnya.
sumber: cnnindonesia.com




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http://www.indopostmanado.com/

Headline , Manado , National


US Judge Free Son
Kawanua, Rombot: Thank
You Pastor and Friends
Thursday, November 2, 2017 Read: 135 times




Terry Rombot
IPM- Illegal immigrants from Kawanua (North Sulawesi) living in New
Hampshire are released on the orders of the District Chief Judge Patti Saris,
United States (US). The release of Indonesian citizens is under threat of
deportation due to President Donald Trump's policy of Immigration and Customs
(ICE) prisoners, Wednesday (1/11). Well, one of the 47 Indonesian citizens is
Terry Rombot whose detention is declared Boston District Judge, can not be done
anymore for violating human rights protected by the US constitution. "Let him
walk out of court now," Saris said as quoted by Reuters on Thursday (2/11) early
morning hrs.




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Rombot was out of Boston district court with still wearing prison clothes without
having time to change clothes. Rombot's lawyer said the man who migrated to the
United States during the 1998 riots in Indonesia had been detained by ICE
authorities.
Outside the courthouse, Rombot was happy about the verdict. "I want to thank my
lawyers, my pastor, and all my friends."
Meanwhile, the US federal prosecutor's office declared a plan to appeal the
decision of the district court. ICE officials say the rules are only temporary and
that their offices always have the authority to deport those under the rule.
WNI in the US is part of about 2,000 people who gathered in Indonesia Dover
city, New Hampshire. Members of the community and its supporters state that
they are afraid of facing discrimination or violence if forced to return to a
predominantly Muslim country.
They have gained support from Republican Governor Chris Sununu and
Congressional Democrat delegates, including US Senator Jeanne Shaheen.
Known, Rombot and other citizens are illegal when arriving in the State of Uncle
Sam after escaping from the tragedy of 1998 in Indonesia. Despite its illegal
status, dozens of Indonesians are given the opportunity to live in Uncle Sam's
country thanks to a 2012 agreement negotiated independently with the US
immigration office.
Through this agreement, illegal immigrants in the US are subject to suspension of
immigration sanctions and residence permits provided that passport holdings and
the obligation to report regularly to the ICE office on schedule.
However, circumstances changed when President Donald Trump ascended to the
throne in January. Shortly after being sworn in, Trump immediately signed an
executive order that abolished the ICE exemption agreement.
Beginning in August, all citizens who come to the ICE office to conduct regular
reporting must accept the harsh reality.
Some of the Indonesian citizens and their lawyers said there is fear that the
Indonesians will face discrimination if they return to Indonesia.
Previously, Director of Protection of Indonesian Citizens and BHI Ministry of
Foreign Affairs, Lalu Muhammad Iqbal, explained there are three types of citizens
who will be deported. First, those who are seeking asylum and are rejected by the
court.
"They are mostly asylum seekers of the 98 victims (reform era), but are rejected
from the courts. Clearly they have to leave the United States, "he explained in a
press conference about the handling of citizens abroad held in North Sulawesi,
Wednesday (1/11).
Secondly, they are the ones seeking asylum and have been granted asylum in the
US. But when asylum has been granted by the US government, the citizen returns
to Indonesia, for various reasons, one of them miss family.
"So automatically when returning to Indonesia, asylum given from the United
States was canceled," explained Iqbal.



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Third, the citizen who uses the visit visa. But working in the United States, even
beyond the time of residence. "So automatically they are considered illegal,"
explains Iqbal.
Until now, according to Iqbal, the citizens who are planned to be deported are still
waiting for the verdict, after the emergence of policies from the US Judge. "So
they have not been deported status. And now still waiting for the inkrah decision
from the court, "he explained.
While representatives of the Ministry of Foreign Affairs in the US are working,
preventing the occurrence of deportation. Such as assisting legal efforts that are
still done, in order to ensure citizens can live in the US.
"But our embassy does not guarantee that they will be able to stay on the land
there (USA). Because it is the US court, so we must respect it. We have also set up
a lawyer (standby) who stands by 24 hours there. Lawyers are used to fight for
their rights there, even fighting for staying in the US longer, "explained Iqbal.
In addition, the Ministry of Foreign Affairs lobbied several parties from the
presidential level to the level of parliament to the bottom, to get the attention of
the US government. "The goal is to be tolerated for our citizens in the US," he
concluded.
source: cnnindonesia.com
Editor: editor - indopostmanado




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http://www.bbc.com/indonesia
Warga Indonesia yang ditahan atas perintah Trump,
dibebaskan
2 November 2017




Terry Rombot foto REUTERS

Terry Rombot termasuk bagian dari gelombang warga Kristen asal Indonesia yang mencari
suaka setelah kerusuhan 1998
Seorang hakim di AS memerintahkan agar seorang imigran ilegal asal Indonesia di New
Hampshire dibebaskan. Perintah pembebasan ini bertentangan dengan permintaan Presiden
Trump untuk mendeportasi imigran asal Indonesia di negara tersebut.

Pria tersebut bernama Terry Rombot, lapor kantor berita Reuters, dan diizinkan menetap di AS
setelah kesepakatan pada 2010 dengan Penegakan Imigrasi AS dan Bea Cukai (Immigration and
Customs Enforcement atau ICE).

Namun Trump meminta ICE menginstruksikan agar semua orang yang tinggal secara ilegal di AS
bisa dideportasi.

Empat WNI akan dideportasi dari Amerika Serikat
Warga Kristen Indonesia di AS yang 'diusir' Trump ajukan gugatan hukum
Rombot termasuk bagian dari gelombang warga Kristen asal Indonesia yang mencari suaka
setelah kerusuhan 1998. Dia baru mengetahui perubahan ketentuan itu saat melapor pada 1
Agustus lalu ke ICE dan langsung ditahan.

"Dia bisa keluar meninggalkan gedung pengadilan saat ini," kata Hakim Ketua Distrik Patti Saris,
setelah menyimpulkan bahwa penahanan Rombot melanggar hak-haknya.



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Dia lalu berjalan keluar dari Pengadilan Distrik AS di Boston dengan baju terusan penjara warna
biru, tanpa sempat berganti dengan bajunya sendiri.

Pengacara Rombot mengatakan bahwa dia ditahan waktu itiu meski ada surat dari ICE pada
2015 yang menyatakan bahwa dia akan punya kesempatan untuk mempersiapkan
keberangkatan 'sesuai jadwal.'

Hakim mengutip surat itu pada persidangan yang berlangsung Rabu, untuk menentukan apakah
penahanan Rombot melanggar haknya untuk menjalankan proses resmi di bawah Undang-
undang AS, terlepas dari aturan ICE sebelumnya.

"Inilah maksudnya, bahwa dia akan diberi kesempatan untuk pulang dengan niatnya sendiri dan
bukan dalam keadaan diborgol," katanya.

Di luar gedung pengadilan, Rombot mengatakan, "Saya hanya ingin menyampaikan terima kasih
pada pengacara saya, pendeta saya dan semua teman-teman."




Protes New HampshireHak atas fotoREUTERS

Berbagai protes dilakukan komunitas Kristen di New Hampshire untuk mendukung WNI yang
ditahan oleh ICE.
Kantor Kejaksaan AS sedang menimbang-nimbang untuk mengajukan banding, menurut seorang
juru bicara.

Pejabat ICE mengatakan bahwa aturan tersebut hanya sementara dan bahwa kantor mereka
selalu punya kewenangan untuk mendeportasi orang-orang yang berada di bawah aturan
tersebut.

WNI di AS ini merupakan bagian dari sekitar 2.000 orang Indonesia yang terkumpul di kota
Dover, New Hampshire.

Anggota komunitas tersebut dan pendukungnya menyatakan bahwa mereka takut akan
menghadapi diskriminasi atau kekerasan jika dipaksa kembali ke Indonesia yang mayoritas
muslim.

Mereka telah mendapat dukungan dari Gubernur dari Partai Republik, Chris Sununu dan delegasi
Kongres dari Partai Demokrat, termasuk Senator AS Jeanne Shaheen.




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Sebelumnya hakim Patti Saris memerintahkan agar permintaan deportasi tersebut ditolak. Kini
dia mempertimbangkan apakah dia bisa meminta penundaan yang lebih lama untuk memberi
waktu bagi orang-orang yang terdampak untuk melakukan upaya baru dalam mendapat status
hukum.



http://www.bbc.com/indonesia


Indonesians detained on Trump's orders are
released
2 November 2017




Rombot is part of a wave of Indonesian Christians seeking asylum after the 1998 riots


A US judge ordered an illegal Indonesian immigrant in New Hampshire to be released. This order
of liberation is contrary to President Trump’s request to deport Indonesian immigrants in the
country.
The man was named Terry Rombot, Reuters news agency reported, and was allowed to settle in
the US after an agreement in 2010 with Immigration and Customs Enforcement (ICE).

 But Trump asks ICE to instruct all people living illegally in the US to be deported.
" Four Indonesians will be deported from the United States
" Indonesian Christians in the United States who ‘expelled’ Trump filed a lawsuit

Rombot was part of a wave of Indonesian Christians who sought asylum after the 1998 riots. He
was aware of the change in provisions when reporting on 1 August to ICE and immediately
detained.

“He can get out of the courthouse at the moment,” said District Chief Judge Patti Saris, after
concluding that Rombot’s detention violated his rights.




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He then walked out of the US District Court in Boston in a blue prison dress without changing his
own clothes.

Rombot’s lawyer said he was detained at that time despite a letter from ICE in 2015 stating that
he would have a chance to prepare for his departure ‘on schedule.’

The judge cited the letter at a trial on Wednesday to determine whether Rombot’s detention
violated his right to run the official process under the US law, regardless of previous ICE rules.

“This is what he means, that he will be given the opportunity to return home with his own intention
and not in a handcuffed state,” he said.

Outside the court, Rombot said, “I just want to thank my lawyers, my pastor and all my friends.”




                                                                 Right
toREUTERSphotoImage captionVarious protests by the Christian community in New Hampshire
to support Indonesian citizens detained by ICE.

The US Attorney’s Office is considering to appeal, according to a spokesman.

ICE officials say the rules are only temporary and that their offices always have the authority to
deport those under the rule.

WNI in the US is part of about 2,000 people who gathered in Indonesia Dover city, New
Hampshire.

Members of the community and its supporters state that they are afraid of facing discrimination or
violence if forced to return to a predominantly Muslim country.

They have gained support from Republican Governor Chris Sununu and Congressional Democrat
delegates, including US Senator Jeanne Shaheen.

Earlier Judge Patti Saris ordered that the deportation request be rejected. Now he is considering
whether he can ask for a longer delay to allow the affected people to make new efforts in
obtaining legal status.




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BOSTON - Seorang hakim Amerika Serikat (AS) memerintahkan pembebasan
seorang imigran ilegal asal Indonesia yang ditahan atas perintah Presiden
Donald Trump terkait kebijakan imigrasi yang ketat. Pria bernama Terry Rombot
adalah satu di antara 47 warga Indonesia di New Hampshire yang berjuang
menentang deportasi yang diperintahkan Trump.

Terry Rombot diizinkan untuk tetap berada di AS sampai akhir tahun ini di bawah
persyaratan kesepakatan dengan pihak Immigration and Customs
Enforcement (ICE) atau Penegakan Imigrasi dan Bea Cukai tahun 2010.

Rombot, bagian dari gelombang warga Kristen Indonesia yang melarikan diri dari
Tanah Air setelah terjadi kerusuhan pada tahun 1998. Sejak itu dia menikmati
hidup di negeri Paman Sam melalui kesepekatan dengan pihak ICE. Tapi,
nasibnya berubah setelah Trump membuat perubahan kebijakan imigrasi, di
mana dia ditangkap saat muncul dalam sebuah pemeriksaan di ICE pada 1
Agustus 2017.

”Dia keluar dari gedung pengadilan saat ini,” kata Hakim Ketua AS Patti Saris



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setelah menyimpulkan bahwa penahanan Rombot telah melanggar haknya.

Dia keluar dari Pengadilan Negeri AS di Boston dengan baju tahanan warna biru,
tanpa kesempatan untuk berganti pakaian. Pengacara Rombot mengatakan
bahwa dia ditangkap meskipun ada surat dari ICE tahun 2015 yang mengatakan
bahwa dia akan memiliki kesempatan untuk mempersiapkan “orderly departure”
(keberangkatan sesuai jadwal).

Hakim mengutip surat tersebut pada saat persidangan hari Rabu dengan
menyatakan bahwa penahanan Rombot—meskipun ada instruksi ICE—
melanggar hak proses persidangannya di bawah Konstitusi AS.

"Inilah maksudnya, bahwa dia akan diberi kesempatan untuk pulang dengan
niatnya sendiri dan bukan dalam keadaan diborgol,” katanya, seperti
dikutip Reuters, Kamis (2/11/2017).

Di luar ruang sidang, Rombot berkata, ”Saya hanya ingin mengucapkan terima
kasih kepada pengacara saya, pastor saya dan semua teman saya”.

Kantor Kejaksaan AS melalui seorang juru bicaranya sedang
mempertimbangkan untuk mengajukan banding atas putusan hakim.

Pejabat ICE mengatakan bahwa aturan tersebut hanya sementara dan bahwa
kantor mereka selalu punya kewenangan untuk mendeportasi orang-orang yang
berada di bawah aturan tersebut.

Warga Indonesia in i adalah bagian dari komunitas etnis yang terdiri dari sekitar
2.000 orang yang berkerumun di sekitar Kota Dover di wilayah pesisir New
Hampshire.

Anggota kelompok tersebut dan pendukungnya mengatakan bahwa mereka
khawatir bahwa mereka dapat menghadapi diskriminasi atau kekerasan jika
dipaksa kembali ke Indonesia yang berpenduduk mayoritas Muslim terbesar di
dunia.

Kekhawatiran mereka telah menarik dukungan Gubernur New Hampshire Chris
Sununu—politisi Partai Republik—dan delegasi Kongres dari Partai Demokrat
New Hampshire, termasuk Senator AS Jeanne Shaheen.

Hakim Saris sebelumnya memerintahkan agar permintaan deportasi tersebut
ditolak. Dia mempertimbangkan apakah bisa meminta penundaan yang lebih
lama untuk memberi waktu bagi orang-orang yang terkena dampak kebijakan
imigrasi Trump untuk melakukan upaya baru dalam mendapat status hukum.
(mas)




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https://international.sindonews.com


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BOSTON - A US judge ordered the release of an illegal Indonesian immigrant
who was arrested on the orders of President Donald Trump on a strict
immigration policy. The man named Terry Rombot was one of 47 Indonesians in
New Hampshire who fought against the deportations Trump ordered.

Terry Rombot is allowed to remain in the US until the end of this year under
terms of an agreement with Immigration and Customs Enforcement (ICE) or
Immigration and Customs Enforcement in 2010.

Rombot, part of a wave of Indonesian Christians who fled the country after riots
in 1998. Since then he has enjoyed living in the land of Uncle Sam through the
agreement with the ICE. However, his fate changed after Trump made a change
of immigration policy, where he was arrested when appearing in an ICE check on
August 1, 2017.



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"He's out of the courthouse at the moment," US Chief Justice Patti Saris said
after concluding that Rombot's arrest had broken right.

He left the US District Court in Boston in a blue suit, with no chance to change
clothes. Rombot's lawyer said he was arrested despite a letter from ICE in 2015
saying he would have an opportunity to prepare an "orderly departure".

The judge quoted the letter during a court hearing Wednesday by stating that
Rombot's detention-despite ICE's instructions-violated the right of his trial
process under the US Constitution.

"This is what he means, that he will be given the opportunity to return home with
his own intention and not in a state of handcuffs," he said, as quoted
by Reuters on Thursday (2/11/2017).

Outside the courtroom, Rombot said, "I just want to thank my lawyers, my pastor
and all my friends".

The US Attorney's Office through a spokesman is considering appealing a
judge's ruling.

ICE officials say the rules are only temporary and that their offices always have
the authority to deport those under the rule.

The Indonesians are part of an ethnic community of about 2,000 people clustered
around Dover Town in the New Hampshire coastal region.

Members of the group and supporters say they fear that they can face
discrimination or violence if forced back into the world's largest Muslim-majority
country.

Their concerns have attracted the support of New Hampshire Governor Chris
Sununu-Republican politicians-and Congress delegates from the Democratic
Party of New Hampshire, including US Senator Jeanne Shaheen.




#WORLD NEWS




                                         95
AUGUST 14, 2017 / 1:00 PM / 5 MONTHS AGO




Pengadilan Amerika Serikat
Bebaskan WNI Korban 98 yang
Sempat Ditahan

kumparanNEWS

Kamis 02 November 2017 - 12:33




Terry Rombot, imigran asal Indonesia di AS (Foto: Nate Raymond/Reuters)
Pengadilan New Hampshire, Amerika Serikat, membebaskan Terry
Rombot, WNI korban kerusuhan 1998 yang sempat ditangkap akibat
perintah Presiden Donadl Trump untuk deportasi imigran ilegal.
Rombot merupakan satu di antara 47 WNI yang menggugat keabsahan
perintah eksekutif Trump lewat pengadilan. Dia sempat ditangkap usai
Trump memerintahkan Immigration and Customs Enforcement (ICE)
mendeportasi imigran ilegal. Padahal, sebelumnya WNI korban




                                           96
kerusuhan 1998 bisa bermukim di Amerika Serikat asalkan melapor
secara berkala.
"Dia dinyatakan bebas setelah sidang ini," kata hakim Patti Saris seperti
dilansir Reuters, Kamis (2/11).
Baca Juga :

 "   Indonesia Hormati Keputusan Amerika Serikat soal Imigran
     WNI Korban 98
 "   Ribuan WNI Korban Kerusuhan 1998 Terancam Dideportasi
     dari AS

Menurut Saris, penahanan yang dilakukan terhadap Rombot telah
melanggar haknya sebagai pencari suaka.
"Dia harus diberikan kesempatan untuk menetap (di Amerika Serikat)
dengan kemampuannya sendiri, bukan dalam belenggu," sebut Saris.
Rombot yang bebas setelah ditahan sejak Agustus 2017, mengaku
bersyukur. "Saya berterima kasih kepada pengacara saya, pastor saya,
dan semua teman-teman saya," kata Rumbot di luar gedung
pengadilan.
Sedangkan perwakilan ICE yang hadir di pengadilan
mempertimbangkan untuk mengajukan banding terhadap putusan ini.
Dia pun mengatakan ICE tetap punya diskresi untuk menangkap
imigran ilegal.




                                   97
US Court Exempts WNI Survivors of
98 Victims
coilsNEWS


Thursday 02 November 2017 - 12:33




Terry Rombot, Indonesian immigrant in the US (Photo: Nate Raymond / Reuters )
The New Hampshire court, the United States, frees Terry Rombot, an
Indonesian citizen who was arrested by President Donadl Trump for the
deportation of illegal immigrants.
Rombot is one of 47 Indonesians who are suing the legitimacy of Trump
executive orders through the courts. He was arrested after Trump
ordered Immigration and Customs Enforcement (ICE) to deport illegal
immigrants. In fact, previously WNI victims of 1998 riots can live in the
United States as long as reported periodically.
"He was declared free after this trial," said judge Patti Saris as reported
by Reuters on Thursday (2/11).
Also Read:


                                         98
 "   Indonesia Respects US Decision on Immigrants Citizen Victims
     98
 "   Thousands of Citizens Victims of 1998 Riots Threatened
     Deported from the US


Demonstration Demands Justice for Immigrants in the US (Photo: Brian Snyder )
According to Saris, the detention of Rombot violated her right to asylum
seeker.
"He should be given the opportunity to settle (in the United States) with
his own ability, not in bondage," said Saris.
Rombot who was free after being detained since August 2017, admitted
grateful. "I thank my lawyers, my pastor, and all my friends," Rumbot
said outside the courthouse.
The ICE representatives present in the court consider appealing against
this decision. He also said ICE still has the discretion to capture illegal
immigrants.




                                         99
http://validnews.co/Deportasi

Deportasi 51 WNI di New Hampshire
Ditunda
Sebagian dari dua ribu WNI yang menetap di New Hampshire merupakan warga Indonesia
keturunan China yang melarikan diri saat kerusuhan 1998 berlangsung
November 28, 2017, 17:40

JAKARTA – Deportasi 51 warga Indonesia yang dikatakan tinggal
secara tidak sah di New Hampshire ditunda. Perintah penundaan
dikeluarkan oleh Ketua Hakim Federal, Patti Saris melalui surat yang
disampaikan kepada pejabat imigrasi Amerika.
Hakim Haris beralasan penundaan untuk memberikan kesempatan
kepada para imigran menyatakan argumentasinya dan membuktikan
kepulangannya ke Indonesia dapat membahayakan diri mereka.
"Pemerintah harus memberi tahu pengadilan apakah petisioner (ke-51
WNI), yang tidak ditahan, akan mendapat akses ke prosedur darurat
untuk mengajukan kembali kasusnya," tulis Hakim Saris dalam suratnya.
Menanggapi perintah Hakim Saris, Otoritas penegakan hukum imigrasi
Amerika Serikat (ICE) menegaskan akan mengkaji dan mematuhi
putusan pengadilan. Petinggi ICE menyampaikan akan mengajukan
banding atas keputusan Hakim Saris.
"Kami mengkaji keputusan dan akan mematuhi perintah pengadilan,"
kata juru bicara ICE, Shawn Neudauer.
Sekitar dua ribu WNI tinggal di Dover, New Hampshire. Keberadaan
mereka di sana mendapat dukungan dari seluruh anggota Kongres asal
Partai Demokrat, termasuk juga Senator Amerika Serikat, Jeanne
Shaheen serta Gubernur asal Partai Republik, Chris Sununu. Ribuan
WNI yang menetap di New Hampshire sebagian merupakan warga
Indonesia keturunan China yang melarikan diri saat kerusuhan 1998
berlangsung.
Diberitakan berbagai media, di era kepemimpinan Presiden Barack
Obama, imigran Indonesia diperkenankan tinggal di New Hampshire di
bawah kesepakatan informal di tahun 2010 antara ICE dengan




                                         9;
sekelompok warga Indonesia. Kesepakatan tersebut mewajibkan mereka
untuk menyerahkan paspor dan melaporkan diri secara berkala ke ICE.
Namun di era pemerintahan Presiden Donald John Trump dengan janji
kampanyenya memberantas imigran ilegal, memutuskan mencabut
semua pengecualian termasuk yang dikeluarkan ICE. Para imigran
tersebut diharuskan pulang ke Indonesia, ICE memberi waktu dua bulan
bagi ke-51 WNI untuk meninggalkan Amerika Serikat.
Sebagian besar dari ke-51 WNI tersebut merupakan bagian dari
perjanjian ICE pada 2010. Awalnya mereka masuk ke Amerika Serikat
dengan legal, namun terlambat meminta suaka ketika visanya
kadaluarsa.
Sejumlah WNI yang akan dideportasi tersebut mengaku takut akan
dipersekusi dikarenakan etnis serta agama di tengah situasi sosial-politik
sekarang di Indonesia.
Berdasarkan catatan ICE, terdapat 69 warga Kristen Indonesia di New
Hampshire dan 45 warga Kristen Indonesia di New Jersey di bawah
kesepakatan ini. Tidak hanya WNI, atas kesepakatan tersebut sebanyak
41.854 orang dari seluruh dunia yang tinggal di Amerika Serikat.
Dukungan demi dukungan digulirkan untuk mempertahankan
keberadaan imigran asal Indonesia, termasuk dukungan dari seluruh
anggota Kongres Partai Demokrat dan Senator Amerika Serikat, Jeanne
Shaheen serta Gubernur asal Partai Republik, Chris Sununu dan
kandidat Gubernur New Jersey dari Green Party, Pendeta Seth Kapel-
Dale.
Mereka bahkan menawarkan perlindungan dan bantuan hukum kepada
WNI di Gereja Reformed Highland Park.
Sebelumnya Pengadilan Federal di Boston, Massachusetts pada
September lalu juga mengabulkan permintaan penundaan deportasi
terhadap sekitar 60 imigran asal Indonesia di wilayah New Hampshire.
Para imigran ini terancam deportasi karena permohonan suaka mereka
ditolak. (Rohadatul Aisy)




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Deportation of 51 Indonesian Citizen in New Hampshire On Hold




A number of activists doing rallies opposing the deportation policy for immigrants in Miami,
Florida, USA. Joe Raedle/Getty Images/AFP
JAKARTA – The deportation of 51 Indonesians who are believed to have stayed
illegally in New Hampshire was halted. Federal judge chief Patti Saris issued a
ruling that put the deportation on hold by a letter submitted to the US immigration
officials.
Judge Saris reasoned that the delay will give the immigrants an opportunity to state
their arguments and prove that their return to Indonesia could endanger them.
"The government should tell the Court whether the undetained petitioners (51
Indonesian citizens), will gain access to the emergency procedure for refiling their
case," wrote Judge Saris in her letter.


Responding to the orders of judge Saris, US immigration law enforcement authority
(ICE) stated that it will examine and comply with the court ruling. ICE official said
that it will appeal the decision of Judge Saris.


"We are reviewing the decision and will comply with the court order," said ICE
spokesman, Shawn Neudauer.


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Around two thousand Indonesians live in Dover, New Hampshire. Their presence
there had the support of the entire Congress members from the Democratic Party,
including Senator Jeanne Shaheen, and Republican Governor, Chris Sununu.
Thousands of Indonesian citizens who settled in New Hampshire are part of Chinese
descent Indonesians who fled the country when the 1998 riot took place.


Various media reported that in the era of President Barack Obama, Indonesian
immigrants were allowed to stay in New Hampshire under an informal agreement in
2010 between the ICE with a group of Indonesian citizens. The agreement requires
them to submit a passport and reports regularly to the ICE.


However, under President Donald John Trump's administration with his campaign
promise to eradicate illegal immigrants, the government decided to remove all
exceptions including those issued by ICE. The immigrants are required to return to
Indonesia, ICE gives two months to the 51 Indonesians to leave the United States
Most of the 51 Indonesians are part of the ICE agreement in 2010. Initially they
entered the United States legally, but were late in applying for an asylum when
their visa expired.
A number of Indonesians who will be deported feared that they will be
persecuted due to their ethnic and religion under current socio-political situation
in Indonesia.
Based on the record of the ICE, there are 69 Christian Indonesian in New Hampshire
and 45 Christian Indonesias in New Jersey under this agreement. Beside the
Indonesians, the agreement also included 41,854 people from around the world who
live in the United States.
The effort to preserve the presence of Indonesian immigrants has received many
supports, including from the entire Democratic Party Congressmen and Senator,
Jeanne Shaheen, as well as Governor from the Republican party, Chris Sununu and
New Jersey gubernatorial candidate from the Green Party, Reverend Seth Kapel-
Dale.
They even offer protection and legal assistance to Indonesian citizens at the Reformed
Highland Park Church.
Earlier the Federal Court in Boston, Massachusetts in September also granted a
request for a postponement of deportation of some 60 immigrants from Indonesia in
the New Hampshire region. These immigrants were threatened with deportation
because their asylum application were rejected. (Rohadatul Aisy)




                                           ;3
https://news.idntimes.com/world/faiz-nashrillah
Akibat Kebijakan Trump, 51 WNI di AS Terancam Deportasi
Mereka adalah para korban kerusuhan 1998

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IDN Times, Boston - Sebanyak 51 warga negara Indonesia yang tinggal di New Hampshire Amerika
Serikat terancam dideportasi oleh pemerintah setempat. Musababnya adalah adanya banding dari badan
imigrasi terhadap putusan hakim pengadilan Boston. Sebelumnya, pengadilan setempat memang menunda
pemulangan mereka karena kondisi Indonesia dianggap belum aman.

"Namun, kondisi Indonesia saat ini tidak membuktikan adanya ancaman penganiayaan atau penyiksaan
terhadap para imigran," demikian pernyataan badan imigrasi seperti dikutip dari Reuters, Kamis, (21/12).
menurut mereka, pengadilan tidak memiliki yurisdiksi atas klaim para WNI. Bahkan, klaim para imigran
dianggap tak masuk akal.

1. Mereka adalah korban kerusuhan 1998

Imigran yang dimaksud adalah kelompok Kristen Tionghoa yang melarikan diri dari Indonesia setelah
meletusnya kekerasan 20 tahun lalu. Sejak itu, mereka hidup secara terbuka selama bertahun-tahun dalam
sebuah kesepakatan informal yang dicapai dengan badan imigrasi setempat. Para WNI tinggal di kota
Dover, New Hampshire dengan sekitar 2000 orang lain yang juga beretnis Tionghoa.

2. Kebijakan Trump mengubah segalanya

Jizfwit$Rzst•3Wjzyjwx${nf$FSYFWF$KTYT

Awalnya semua baik-baik saja. Namun, pada bulan Agustus lalu, mereka diminta bersiap-siap
meninggalkan Amerika. Hal ini tak lepas dari janji kampanye Presiden Amerika Serikat, Donald Trump
yang memperketat kebijakan imigrasinya.

Anggota kelompok tersebut mengatakan bahwa mereka awalnya memasuki Amerika dengan visa turis. Saat
                                                             izin tinggal kadaluarsa, mereka malah
                                                             gagal mendapatkan suaka. Beberapa
                                                             orang mengaku khawatir terhadap
                                                             penganiayaan atau kekerasan berbau
                                                             agama kembali terulang di Indonesia.

                                                                    3. Sempat diberikan kesempatan

                                                                    Sebenarnya, bulan lalu, hakim
                                                                    pengadilan setempat, Patti Saris,
                                                                    mengatakan bahwa para imigran
                                                                    sempat diberikan kesempatan.
                                                                    Mereka, kata Saris, seharusnya




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memiliki hak untuk menjelaskan kondisi terkini di Indonesia sehingga izin tinggal mereka bisa
diperpanjang.

Published by Faiz Nashrillah
21 Desember 2017



https://news.idntimes.com/world/faiz-nashrillah

Due to Trump Policy, 51 WNI in the US Threatened Deportation
They are victims of the 1998 riots
Published by Faiz NashrillahDecember 21, 2017

IDN Times, Boston - A total of 51 Indonesian citizens living in New Hampshire of the
United States are threatened to be deported by the local government. The complaint was
an appeal from the immigration body against the Boston court judge's ruling. Previously,
local courts had delayed their repatriation because the condition of Indonesia is
considered unsafe.

"However, Indonesia's current condition does not prove the existence of a threat of
persecution or torture against immigrants," the statement was quoted as saying the
immigration agency Reuters, Thursday (21/12). according to them, the court has no
jurisdiction over the claims of Indonesian citizens. In fact, immigrant claims are
considered unreasonable.

1.They are victims of riot 1998
The immigrants in question are Chinese Christians who fled Indonesia after the outbreak
of violence 20 years ago. Since then, they have lived openly for years in an informal
agreement reached with the local immigration agency. The citizens live in the city of
Dover, New Hampshire with about 2000 other people who are also ethnic Chinese.

2. Trump policy changes everything
Eduardo Munoz / Reuters via ANTARA PHOTO
Initially all was fine. However, in August, they were asked to get ready to leave
                                                        America. This is not separated
                                                        from the promise of US President
                                                        Donald Trump's campaign to
                                                        tighten his immigration policy.
                                                        Members of the group said that
                                                        they originally entered the country
                                                        on a tourist visa. When permission
                                                        to stay expired, they failed to get
                                                        asylum. Some people claim to be
                                                        worried about religious
                                                        persecution or violence



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reoccurring in Indonesia.

3. Got a chance
Actually, last month, a local court judge, Patti Saris, said that immigrants were given a
chance. They, Saris said, should have the right to explain the current state of Indonesia so
that their residence permit could be extended.




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A Story of Indonesian Citizens Facing Deportation Threat Due to Trump’s Immigration
Rules




Since fleeing the 1998 riot, an Indonesian couple of Chinese descent
Meldy and Eva Lumangkun built a new life with their four children in
suburban New Hampshire, the United States.

Despite their illegal status, Meldy and Eva were giving a chance to
stay in the U.S. thanks to an accord in 2012 which was negotiated
independently with the US immigration authorities (ICE).

Under the terms of the deal, the immigration sanction against a
number of illegal immigrants in the US were deferred and they were
allowed to remain in the country if they surrendered their passports
and appeared for regular check-ins set on varying schedules at the
immigration office.

Things changed, however, when they showed up at the Immigration
and Customs Enforcement office in Manchester in August for their
regular check-in.

At the time, the immigration officials told them to buy one-way
tickets back to Indonesia and get out of the United States in two
months.

"We are afraid to go home. We fear for the safety of our children.
Here our children can live safely," Meldy Lumangkun told Reuters.


                                        211
The immigration is forced to ask the couple to return to Indonesia
based on an executive order signed by Donald Trump on January.

Under the new rules, the Trump administration moved to reopen cases
of people who, like the Lumangkuns, had been given a reprieve under
past administrations.

During his presidential campaign, Donald Trump said he would purge
the country of millions of illegal immigrants. Since he moved into the
White House in January, immigration arrests have tripled since the
start of the year to an average of 142 people a day.

Beginning in August, the immigrants were gradually asked to return
to their home countries.

Now there are at least 41,854 illegal immigrants in the US who face
deportation threat under the new Trump’s rules.

"The executive order that President Trump signed in January changed
everything," said ICE spokesman Shawn Neudauer.

The Lumangkuns are among about 2,000 ethnic Chinese Indonesian
Christians who fled to New Hampshire to escape rioting that killed
about 1,000 people in 1998 due to financial crisis.

Resented for their wide control over trade and business, Indonesian-
Chinese have often been the target of racial discrimination in
Indonesia, the world's most populous Muslim country.

In several cases in 1998, Chinese desscent citizens were killed and
raped, forcing some of them to flee the country

Not only the Lumangkun family, other Chinese Indonesians who fled
to the US are depressed with the Trump administration’s policy,
including Jacklyn Lele.

"It's very stressful. My son does not really want to go over there, he
keeps saying 'I'm American,'" said Jacklyn who fled to the US in
2006.



                                   212
She decided to move to the US after her brother was killed in the
1998 riot. Jacklyn’s family followed the migration wave of Chinese
Indonesian who mostly fled to the US to live in the suburban New
Hampshire, where they have found work in small factories.

Meanwhile, some of them live a normal life in the countryside of New
Jersey as workers and church pastors.

A number of local media such as Foster's Daily newspaper
condemned the move to deport thousands of Chinese Indonesian
immigrants in an August editorial.

"Neighbors who have worked hard and followed the rules shouldn't be
kicked out of the country. Neighbors who have committed no crime
should not suddenly 'disappear' into ICE detention." wrote the
newspaper's editorial board.




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North Sulawesi Residents Threatened with Deportation, Court Rejects Trump’s Orders




Around 50 Christian Indonesians living in the U.S. and some of them
are from North Sulawesi are targeted by President Donald Trump's
deportation orders. This is related to their non-permanent resident
status.




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In fact, some North Sulawesi residents arrested by the immigration
earlier have been deported. According to the latest news, however, the
Trump’s orders were suspended on Monday (11/27/2017) after a
judge ruled that the federal court has the authority to take up their
case.


U.S. District Court Judge Patti Saris in Boston stated in the ruling that
despite the arguments of Trump's administration, the federal court
does have jurisdiction in the matter, and found that immigration
officials should not be be allowed to carry out immediate deportations
of the Indonesians.


The American Civil Liberties Union, which is representing the 50
Christian Indonesians, said that its clients have lived in the United
States for more than a decade, and if deported face the risk of
persecution, torture, or death in that country.


Earlier it was reported that there were a significant number of
immigrants have entered the US to find a safe haven from religious
and ethnic conflicts.


"It reaffirms the central role of the federal courts in ensuring that there
is a fair process when someone's life may be at stake," ACLU's Lee
Gelernt said, according to The Associated Press.


"The court soundly rejected the government's position that the federal
courts lack authority to ensure that individuals have an opportunity to
present their case before an immigration judge before an immigration
judge before they're removed."




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The U.S. government has been looking to deport the Christians, many
of whom have been living in seacoast communities in New
Hampshire. A 2009 deal brokered by Democratic U.S. Sen. Jeanne
Shaheen had allowed them to stay in the country as long as they
regularly reported to the Immigration and Customs Enforcement
office or commonly known as ICE, ed.).



The ACLU stated that ICE recently gave the Christians only two
weeks to purchase their plane tickets back to Indonesia and leave the
country, however. Shaheen praised the latest court ruling, insisting
that New Hampshire "should continue to be a sanctuary to the
Indonesian community that fled religious persecution."



"Deporting these individuals will needlessly split families and
communities, and put lives in danger. I'll continue to make every
effort to prevent these deportations so that the Indonesian community
can continue to live peacefully in New Hampshire," Shaheen
declared. (tcp/jwb/ts*)


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Gojek and Tekab Announce Anti-Drug Declaration with BNN
Manado


                                  225
BNN of Manado Municipal under AKBP Elly Sopacolly continue to
step up war on drugs. One preventive way is to make community
groups as its partner in fighting illegal narcotics and drugs.


Interestingly, on Monday (01/08/2018), BNN of Manado
Municipal with community groups, namely
TEKAB (Anti Bandit Special Team) of 59 personnels, Gojek Online
of 31 personnels with 5,000 drivers, along with Gojek Manado
Lovers of 400 personnels, declared themselves as partners of BNN
Manado.




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Located at the office of BNN of Manado Municipal, they declared
themselves to assist BNN with providing information on drug abuse
in the community. BNN of Manado Municipal welcomed the
declaration positively.




 "We express our gratitude to the participation of the three
community groups to become partners of the BNN of Manado
Municipal in the fight against drugs," says Sopacolly. (ts/*)
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Headlines
Ivansa-CNR to Compete Head To Head with ROR-RB




                                 227
As predicted earlier, the incumbent candidate Janjte Wowiling Sajow
(JWS) was finally knocked off Minahasa 2018 Elections.



This is after the Democratic Party and Gerindra joined PDI-P in
nominating ROR-RB (Royke Octavianus Roring and Robby
Dondokambey).
Thus the 2018 Minahasa Election resulted in a head to head
competition between Ivansa-CNR versus ROR-RB. The competition
between the two pairs will be stiff and quite evenly matched as both
are supported by three political parties. Ivansa-CNR is supported by


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Golkar, Nasdem and PKPI. While ROR-RB is supported by PDIP,
Gerindra and the Democratic Party.
The most highly anticipated is where will the votes of JWS’
supporters go to?
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News Headlines


JWS on Edge




The fate of Jantje Wowiling Sajow (JWS) in the Minahasa Election
was ironic. Being an incumbent and Chairman of PDIP of Minahasa
Branch, the fate of JWS’ participation in the elections 2018Minahasa
is on edge.


It’s because the participation of the Regent of Minahasa in the local
election is determined by other party. The party is the Democratic


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Party. This happens because JWS was not nominated by PDI-P as
expected. PDI-P preferred Royke o. Roring (ROR) which is paired
with Robby Dondokambey (RD).


The decree on the appointment of ROR-RD has been signed by the
Chair of PDIP Megawati Soekarnoputri. Now the only party that
could save JWS is simply the Democratic Party, because other
supporting parties such as Golkar and Nasdem are already
nominated Ivansa-CNR.


Even if JWS is able to secure the support of the Democratic Party, he
needs to collaborate with Gerindra which has nominated James
Arthur Kojongian (JAK).


Then how is the Democratic Party’s position? "Until this afternoon
(01/07/2018) we have not made any decision. What I heard that the
chairmans of two big political parties (in North Sulawesi) are
currently in Jakarta related to the Democratic Party's stance,” said an
executive of the Democratic Party (PD) of North Sulawesi who is also
a member of the PD’s Selection Team in the simultaneous 2018 local
elections.


In their approach to the national executive board of the Democratic
Party, the chairmans of the two parties want to invite the Democratic
Party to form a coalition. "But their mission is different. We’ll wait
for the result," said the source.




Earlier, Chairman of the Democratic Party of North Sulawesi, Dr.
Vicky GS Lumentut said that his party will wait and see related to the
figure to be supported in the Minahasa election. "We will look at (the


                                  22;
figure) who has yet to get a support from a party," said Vicky when
being asked by the media.


Meanwhile, an elite of the PDIP of North Sulawesi said that most
likely the Democratic Party will form a coalition with PDIP in the
Minahasa Election which supports ROR-RD. This further indicates
that the chance of JWS of becoming a candidate in the 2018
Minahasa election is getting lower.


In politics, however, anything can happen. It's just that the PDIP’s
frontman is pessimistic that JWS’ maneuver will succeed. "But if
JWS is able to secure a support from the Democratic Party in the
injury time, I’ll give a thumbs up," he said while saying that until
tonight the Democratic Party and PDI-P almost certainly reach an
"Agreement".


Indeed, the time left for JWS is very short. This is an injury time
period, because starting on Monday (08/01/2018), the candidates
from the supporting parties must have already registered themselves.
Could JWS succeed? (ts/*)
Continue Reading




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METRO XINWEN
Pengadilan di Boston, Massachusetts mengabulkan permohonan penundaan
deportasi dari sekitar 60 imigran asal Indonesia di wilayah New Hampshire dan
Massachusets.

Tapi penundaan itu bersifat sementara dan para imigran harus siap dipulangkan
kapan saja jika permohonan suaka mereka ditolak. Permintaan suaka Indonesia
kebanyakan karena alasan kerusuhan 98 silam dan berbagai alasan pribadi
lainnya.




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